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                     IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


TRINA WILKINS; JAMES BISHOP;                     )
LISA BISHOP; AMBER BRITTON; TONI                 )
CORDOVA; JOHN CORTINA; JILL                      )
CORTINA; GEORGE DEMKO; DOVAN                     )
HELTON; MARY HELTON;                             )
NATE BROOKS; SYDNEY JOHNSON;                     )
PLAINTIFF D.J.; DAMON LAFORCE;                   )
MICHAEL MASULA; ERIN MASULA;                     )
JAMES MATTHEWS; THOMAS                           )
OLSZEWSKI; DARLENE                               )   No: 1:21 – cv – 10023 – DPW
COOKINGHAM; THOMAS                               )
STANZIANO; WENDY STANZIANO;                      )
EDDIE VIERS, individually as surviving           )   Class Action
spouse of Teresa Viers, deceased, AND as         )
Personal Representative of the ESTATE            )
OF TERESA VIERS; WILLIAM                         )
MCNEW; JEANNE WALLACE                            )
individually as surviving spouse of Joseph       )   Electronically Filed
Wallace, deceased, AND as Personal               )
Representative of the ESTATE OF                  )
JOSEPH WALLACE; JAMES                            )
WALLACE; and SAMUEL WALLACE;                     )
                                                 )
      Plaintiffs,                                )
                                                 )
      v.                                         )
                                                 )
GENZYME CORPORATION;                             )
                                                 )
       Defendant.                                )




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              PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                 GENZYME CORPORATION’S MOTION TO DISMISS
                        SECOND AMENDED COMPLAINT

       AND NOW come the Plaintiffs, by and through their counsel, C. Allen Black, Esquire and

Jonathan M. Gesk, Esquire, and hereby file this Memorandum of Law in Opposition to Genzyme

Corporation’s Motion to Dismiss Second Amended Complaint as follows:


I.     INTRODUCTION

       This case is well known in this court from Hochendoner v. Genzyme Corp., 823 F.3d 724,

734 (1st Cir. 2016).     However, Genzyme Corporation’s internal communications about the

information it was sending to Plaintiffs, most that Genzyme Corporation knew that the information

was inaccurate, were concealed by Genzyme Corporation until Schubert v. Genzyme’s Fourth

Amended Complaint was unsealed last year. SAC ¶ 129 citing Schubert v. Genzyme Corp. (2:12-

cv-00587-HCN-DAO)). The Fourth Amended Complaint, detailed with citations to bates-stamped

documents, unveiled a systematic fraud against these specific Plaintiffs, even while their own cases

were pending in this court. Two of the Plaintiffs have since died without ever knowing what

Genzyme had done to them.

       In Schubert’s Fourth Amended Complaint, Genzyme’s own employee, Dr. Daniel Gruskin,

Director of Medical Affairs stated that Genzyme sent “bullshit data” on “low dose” Fabrazyme to

the European Medical Authority and felt Genzyme should not have been surprised when the data

was rejected for “low dose” treatment for Europeans. See Complaint SAC ¶ 339. Genzyme had

better luck convincing American doctors and patients to believe this “bullshit data.” 1 In making




1 The data is from the Lubanda study on low dosing patients, which was equivocal for low dose due the

small sample size. However, the Lubanda study was not. Low dose was ineffective. Genzyme used

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representations to the U.S. advisory authority for the shortage, the U.S. FSWG, Dr. Gruskin stated

“did we lie to the FSWG?” to which Genzyme Corporation’s marketing director, John King, said

“we are the only ones who didn’t”. SAC ¶ 229. Dr. Daniel Gruskin further sent letters to the

Plaintiffs which he later described in an internal e-mail as a “lie (sic) update” about the length of

the shortage and that Genzyme was doing all it could to “help the most vulnerable patients, while

knowing that the statement “little is known in the literature” about “low dose” was dangerously

misleading. 2 SAC ¶ 329. His deposition testimony revealed there was no evidence to support

giving “low dose” Fabrazyme to patients. SAC ¶ 246. In further documents, Genzyme authorities

told the Australian regulatory authorities not to purchase “low dose” Fabrazyme because blanket

dose adjustments “would be insane.” SAC ¶ 465.

        There is a difference between legitimately not knowing the effects of “low dose”

Fabrazyme versus telling some customers, but not others, that a blanket dose adjustment for

Fabrazyme would be insane. Id. The Plaintiffs’ belief that “low dose” Fabrazyme would have

some positive effect on their Fabry disease was cultivated by Genzyme, which it termed “strong

messaging” to U.S. patients in its “Contingency Plan” for a shortage. SAC ¶ 189; ¶ 232. In light

of this information, Genzyme attempts to argue that the current pleading does not make a judiciable

case for a variety of reasons. Genzyme does not attempt to address the facts now being pled and

ignores the Schubert discovery documents entirely. Schubert v. Genzyme Corp. (Case 2:12-cv-

00587-HCN-DAO) District Court for the District of Utah and Schubert v. Genzyme Corp., No.




Lubanda to convince the Australian regulatory authorities that low dosing would be “insane “. SAC ¶
242, ¶ 465
2 Stating that “little is known in the literature” is a decidedly ambiguous statement versus “low dose”

being insane. Daniel Gruskin was proffering an interpretation of the literature that he described himself
as “bullshit.” SAC ¶ 399. See also, The Restatement (Second) of Torts “A representation that the maker
knows is capable of two interpretations of which one is false and the other true is fraudulent if it is made
with intention that be in understood in the sense which it is false... or made with reckless indifference.

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2:12CV587DAK, 2013 WL 6809143 (D. Utah Dec. 20, 2013) (“The court's prior ruling…

specifically stated that Plaintiff had a claim for the distribution of Fabrazyme in reduced, allegedly

unsafe, dosages.”)

       While the courts have resoundingly found no duty to supply the market, the law still

requires a duty of manufacturers to be truthful with the purchasers, including the Plaintiffs,

especially for off-label marketed pharmaceuticals. Id. (“The [Schubert] court recognized that the

shortage of a product was an unactionable act of omission whereas supplying the market with

medication in an unsafe dosage was actionable like any other products liability case.”). See also In

re Neurontin Mktg. & Sales Pracs. Litig., 677 F. Supp. 2d 479, 499 (D. Mass. 2010), judgment

rev'd in part, vacated in part, 712 F.3d 51 (1st Cir. 2013). (“Plaintiffs have submitted abundant

evidence outlined above that Defendants engaged in off-label marketing of Neurontin for multiple

indications, all while they were in possession of studies showing that Neurontin was not more

effective than a placebo in treating these indications… Such evidence raises a genuine issue of

material fact with respect to scienter.”).

       Massachusetts has specifically recognized that a misrepresentation is intentionally deceitful

when a drug is marketed off-label without full disclosure of whether it is effective or not, and the

tort of misrepresentation sounds in fraud (RICO).          Id.   Massachusetts recognized “that a

manufacturer of a pharmaceutical has a duty to disclose to physicians and patients material facts

about the risks of the drug, particularly when it is engaged in off-label marketing for uses not

approved by the FDA, if it knows that the plaintiff and/or his prescriber does not know or cannot

reasonably discover the undisclosed facts.” In re Neurontin Marketing, Sales Practices, and Prods.

Liability Litig., 618 F. Supp. 2d 96, 110 (D. Mass. 2009). During appeal, the First Circuit

recognized at least three classes of fraudulent marketing: “This fraudulent marketing included, but



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was not limited to, three strategies, each of which included subcomponents: (1) direct marketing

(or “detailing”) to doctors, which misrepresented Neurontin's effectiveness for off-label

indications; (2) sponsoring misleading informational supplements … ; and (3) suppressing negative

information about Neurontin while publishing articles in medical journals that reported positive

information about Neurontin's off-label effectiveness.” In re Neurontin Mktg. and Sales Practices

Litig., 712 F.3d 21, 34 (1st Cir.2013). The current case mirrors the In re Neurontin case reviewed

by the First Circuit because it alleges that Genzyme directly marketed doctors and patients about

the effectiveness of “low dose” Fabrazyme with “strong messaging”; sponsored misleading

informational seminars to the U.S. FSWG (did we just lie to the FSWG?—we are the only one who

didn’t); and suppressed negative information about “low dose” Fabrazyme, which included the fact

that a patient would be insane to take it. SAC ¶ 232, SAC ¶ 239, SAC ¶ 310. Even worse than the

Neurontin marketing, is that when a doctor did not prescribe “low dosing” in response to “strong

messaging,” Genzyme simply refused to ship full doses, thereby preventing doctors and patients

even the barest ability to act in the patients’ interest. SAC ¶ 92, SAC ¶ 236. Every single Plaintiff

in this case alleges receiving “low dose” Fabrazyme, apart from Plaintiff Amber Britton, who

received nothing despite others being given full dose during the shortage. SAC ¶¶ 1, 2, 4, 5, 6, 8,

9, 11, 12, 13, 14, 15, 17, 18, 20, 22, and 24. In other words, Genzyme breached its duty to

consumers, including the Plaintiffs, by engaging in off-label marketing without providing full

disclosure on the dangers and lack of effectiveness of Fabrazyme. 3




3 The defense argues that limited pre-answer discover would be useful as opposed to full discovery.

However, no efficiency would be gained. First, Plaintiff D.J. would be prejudiced as he is a protected
minor. Second, discovery of the fraud occurred after the unsealing of Schubert. The discovery rule for
fraudulent concealment is the discovery of the fraud. Finally, the anaphylactic injuries of Trina Wilkins,
Damon LaForce, and Thomas Stanziano all occurred when the shortage ended, not when it started so the
accrual date is within the statute of limitations, notwithstanding the tolling that occurred during the
serial sales of “low doses” without correcting the misperception that it would not be insane to take it.

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        The instant case benefits from the direction of the First Circuit in Hochendoner and repleads

the case considering its pronouncements. First, the Plaintiffs are discussed individually and not in

the aggregate (as will be done in this brief except when necessary). Second, the Plaintiffs who

received “low doses” plead “acceleration” of their disease, which is vetted pleading language as a

cause of action. Finally, where appropriate, the Plaintiffs plead anaphylactic reactions to “low

dose” Fabrazyme, which was also vetted language by the First Circuit.

        The previous opposition in Hochendoner focused on a lack of facts creating standing and

proximate causation between the “low dose” Fabrazyme and the specific Plaintiffs’ injuries. That

connection is now stated explicitly for each Plaintiff. Moreover, Genzyme presented to the court

that it was ignorant of any information regarding “low dose” Fabrazyme, except that “not much

was known in the literature.” See Defense Motion For Dismissal Brief Exhibit D (Document 104-

4 filed 07/09/21) signed by Daniel Gruskin, who was also sending “lie (sic) updates” to doctors,

patients, and payors. The current pleading leaves no doubt as to the “who, what, where, when and

how” Genzyme caused the particular injuries to the Plaintiffs. An actual dispute exists regarding

the material facts. 4 There is a legally cognizable difference between a natural progression of a

disease and progression due to delay in seeking proper treatment based on negligent or fraudulent

information being supplied to a patient. Indeed, the Restatement states that causation/injury

includes the “increase of disease in a patient.” Restatement (Second) of Torts § 539, cmt. b. The

Massachusetts courts recognize injuries from increase in disease due to delay of treatment based




4 Exhibit D was not available to Plaintiffs until the defense attached it to its brief.   Notably, it is an internal
draft of a letter sent to the Plaintiffs, not the letter that Plaintiffs received. While it indeed says that “not
much is known in the literature,” it is also stamped “not for promotional purposes.” The letter was then
used to promote “low doses.” Thus, it operates as yet another source of evidence that Genzyme knew its
off-label marketing of “low dose” Fabrazyme was both illegal and in willful contravention to the law.
This Bates numbered document was not in the unsealed Schubert complaint, although it appears to be
from the Schubert discovery.

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on misleading, ambiguous, and one-sided, cherry picked “bullshit” data that Genzyme used to

influence doctors and patients to choose a “low dose.”


II.    CONCISE FACTUAL AND PRODCEDURAL HISTORY

       The heart of Genzyme Corporation’s Motion to Dismiss is the argument that Plaintiffs’

class action claim is untimely, and thus, with no viable federal claim remaining, this Honorable

Court should decline to exercise supplemental jurisdiction. In making this argument, however,

Genzyme Corporation fails to provide the full and accurate procedural background and also

relies heavily on factual assertions that not only require further discovery, but would be contrary

to the facts alleged by Plaintiffs and thus violative of the standard governing motions to dismiss.

       The misleading summation of this case’s procedural history makes gray what is otherwise

very simple, well-established, black and white rules with respect to class tolling, savings statutes,

and tolling agreements. Plaintiffs provide this concise factual and procedural history to provide

the necessary background that supports Plaintiffs’ opposition to Genzyme Corporation’s Motion

to Dismiss.

       Genzyme Corporation experienced a Fabrazyme shortage as a result of a contamination at

one of its manufacturing plants. Faced with less supply than it needed to accommodate its

patients-clients, Genzyme Corporation decided to instruct its United States patients, including

Plaintiffs, to take lower doses of Fabrazyme while it attempted to resolve the contamination issue

and restart the manufacturing of Fabrazyme. On July 1, 2009, Genzyme Corporation advised

Plaintiffs that they would be receiving less Fabrazyme than the prescribed dosage and that they

should begin skipping or taking lower doses of the drug. Of note, as this case has not yet

reached the discovery stage, it is not clear when Plaintiffs actually received and took lower doses

of the drug, but it would be no earlier than July 1, 2009. In that regard, the record does not even

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establish when these Plaintiffs began receiving low doses. More importantly, the record does not

yet establish when Plaintiffs incurred a harm or injury as a result of Genzyme Corporation’s

actions. Thus, from the outset, Genzyme Corporation’s fact-based statute of limitations

argument is premature.

       The effect of low doses of Fabrazyme is essential to this case. It can actually accelerate

Fabry disease instead of mitigate it, and as Genzyme Corporation admitted behind closed-doors,

at best low doses have no positive effect on Fabry disease. (See e.g., Plaintiffs’ Second

Amended Complaint, ¶¶ 310 (“a blanket dose adjustment would be insane”; 328 (“Enjoy! With

the most recent lie update…); and 339 (“We sent the EMA bullshit data and then are surprised

when they come up with recommendations to switch to Replagal.”)). Again, without the benefit

of discovery, neither party can say with any certainty when Plaintiffs would have incurred harm

from the low doses, when they would have realized the source of that harm, and when they could

have learned that Genzyme Corporation actually knew that the low doses were either not helping

or hurting Plaintiffs but yet concealed that information from Plaintiffs, their doctors, the FDA,

and the medical community as a whole. All that being said, just for the sake of argument, the

earliest the statute of limitations could have commenced was July 1, 2009.

       On March 9, 2011, Plaintiffs filed a Complaint, which included a putative class claim.

(Hochendoner et al. v. Genzyme Corporaton, No. 11-cv-313 (W.D. Pa. 2011)). Genzyme

Corporation does not contest that this was a timely filed class action lawsuit. As this Honorable

Court is well aware, the Hochendoner action, and a subsequent action (Adamo), ultimately were

consolidated and reached the District Court of Massachusetts. The consolidated cases were

dismissed and then appealed to the U.S. Court of Appeals for the First Circuit. On May 23,

2016, the First Circuit affirmed the dismissal, however, on the basis that the Plaintiffs’



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allegations failed to establish standing as the allegations failed to specifically tie the injuries and

harms occasioned to each individual Plaintiff. In that regard, Plaintiffs were given an

opportunity to amend and refile their complaint. At no time did any court certify or deny the

putative class.

        Pursuant to Massachusetts’ savings clause, Plaintiffs had one year from the date of the

First Circuit’s decision to refile their complaint. (MASS.GEN.LAWS ch. 260, § 32). Pursuant

to Indiana’s Journey’s Account statute, Plaintiffs had three years to file a new action. (Ind. Code

§ 34-11-8-1). Indiana’s Journey’s Account statute applies even though the original action was

filed in Pennsylvania and dismissed in Massachusetts. See, Abele v. A. L. Dougherty Overseas,

Inc., 192 F. Supp. 955 (N.D. Ind. 1961); Ullom v. Midland Indus., Inc., 663 F. Supp. 491 (S.D.

Ind. 1987); and Basham v. Penick, 849 N.E.2d 706 (Ind. Ct. App. 2006). “Many states, of which

Indiana is one, have enacted what are quaintly called journeys account statutes, permitting

plaintiffs to refile dismissed suits within some period, provided the original suit was timely. In

Indiana the plaintiff has three years to refile, unless the dismissal was attributable to negligence

in its prosecution, abatement, or an adverse decision on the merits. I.C. § 34-11-8-1 (formerly

I.C. § 34-1-2-8). The refiled action is treated as a ‘continuation of the original action’. So if

plaintiffs themselves had been among the named parties in Kelce, they could have refiled the

action in Indiana as a ‘continuation,’ using Kelce’s 1990 filing date for limitations purposes.”

Hemenway v. Peabody Coal Co., 159 F.3d 255, 266 (7th Cir. 1998).

        After the First Circuit’s ruling, Plaintiffs prepared an amended complaint that would cure

the deficiencies highlighted by this Honorable Court and the First Circuit. Before the lapse of

Massachusetts’ and Indiana’s savings clauses, the parties agreed to enter into a tolling agreement

so that they could explore settlement discussions instead of further litigation. (Exhibit 1). This



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was a worthwhile exercise as a great number of the original plaintiffs were able to settle their

claims. However, those that did not reach a settlement ultimately filed this subject action.

        Plaintiffs then timely re-filed their action in the Federal District Court for the Southern

District of Indiana. The case was then transferred to this Honorable Court upon motion by

Genzyme Corporation. For the reasons stated herein, the subject action is timely and this

Honorable Court has jurisdiction over the class claims and all individual claims.


III.    LEGAL STANDARD

        To establish Article III standing, Plaintiffs must demonstrate that they “(1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is

likely to be redressed by a favorable judicial decision. Spokeo, 136 S.Ct. at 1547; see Lujan v. Defs.

of Wildlife, 504 U.S. 555, 560-61, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). “Although the same

pleading standards apply both to standing determinations and Rule 12(b)(6) determinations, the

two inquiries remain fundamentally distinct: ‘standing in no way depends on the merits of the

plaintiff's contention that particular conduct is illegal.’ citations omitted. An individual's plausible

allegations of a personal injury will generally suffice to plead an injury in fact, even if the claim is

ultimately lacking on the merits. citations omitted. It follows that, in conducting our inquiry into

standing, we have not considered the validity of any of the plaintiffs' claims as a matter of law or

the adequacy of their pleading to state a claim under Rule 12(b)(6).” Hochendoner v. Genzyme

Corp., 823 F.3d 724, 734 (1st Cir. 2016). A “plaintiff-by-plaintiff and claim-by-claim analysis

required by standing doctrine demands allegations linking each plaintiff to each of these injuries.”

Hochendoner v. Genzyme Corp., 823 F.3d 724, 733 (1st Cir. 2016). “We make explicit today what

our cases have implied and what the near-uniform precedent in other circuits has established: at

the pleading stage, the plaintiff bears the burden of establishing sufficient factual matter to

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plausibly demonstrate his standing to bring the action. Neither conclusory assertions nor unfounded

speculation can supply the necessary heft. See Iqbal, 556 U.S. at 678–79, 129 S.Ct. 1937; Blum v.

Holder, 744 F.3d 790, 795 (1st Cir.), cert. denied, ––– U.S. ––––, 135 S.Ct. 477, 190 L.Ed.2d 358

(2014).” Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016).

       “To state a claim upon which relief may be granted, a complaint must include “a short and

plain statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

At a minimum, the complaint must ‘give the defendant fair notice of what the plaintiff’s claim is

and the grounds upon which it rests.’” Calvi v. Knox County, 470 F.3d 422, 430 (1st Cir. 2006)

(quoting Educadores Puertorriqueños en Acción v. Hernández, 367 F.3d 61, 66 (1st Cir. 2004)).

       At this stage, a case may be dismissed “only if taking all of the complaint's well-pled

allegations as true and viewing the other facts in the light most favorable to the plaintiff, the

complaint does not allege enough facts to state a claim to relief that is plausible on its face." In

re Fresenius Granuflo/Naturalyte Dialysate Prods. Liab. Litig., 76 F. Supp. 3d 294, 299 (D.

Mass. 2015).

       “While, ordinarily, a district court's review under Rule 12(b)(6) is limited to

consideration of the facts set forth in the complaint and the documents attached thereto, an

exception exists for ‘documents the authenticity of which are not disputed by the parties; for

official public records; for documents central to plaintiffs' claim; or for documents sufficiently

referred to in the complaint.’" Town of Acton v. W.R. Grace & Co. -- Conn. Techs., Inc., No. 13-

12376-DPW, 2014 U.S. Dist. LEXIS 132684, at *14 (D. Mass. Sep. 22, 2014), citing

to Watterson v. Page, 987 F.2d 1, 3 (1st Cir. 1993).

       “A statute of limitations defense is an affirmative defense that can be addressed by either

a 12(b)(6) or a 12(c) motion. Dismissal may only be granted if the complaint and any documents



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that properly may be read in conjunction with it show beyond doubt that the claim asserted is out

of time." In re Fresenius Granuflo/Naturalyte Dialysate Prods. Liab. Litig. 76 F. Supp. 3d at

299-300.

       “In evaluating a motion to dismiss under Rule 12(b)(1) for lack of subject matter

jurisdiction, we construe plaintiffs' complaint liberally and ordinarily "may consider whatever

evidence has been submitted, such as . . . depositions and exhibits." Carroll v. United States,

661 F.3d 87, 94 (1st Cir. 2011).

       “Generally, a civil complaint must contain only ‘a short and plain statement of the claim

showing that the pleader is entitled to relief.’ Fed. R. Civ. P. 8(a)(2); see Ashcroft v. Iqbal, 556

U.S. 662, 677-78 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 567-68, 570, (2007).

Complaints alleging fraud, though, are subject to a heightened pleading standard, which is

embodied in Federal Rule of Civil Procedure 9(b). That rule demands that the ‘circumstances

constituting fraud’ be pleaded ‘with particularity.’ Fed. R. Civ. P. 9(b); see Rodi v. S. New Eng.

Sch. of Law, 389 F.3d 5, 15 (1st Cir. 2004). We have explained that when Rule 9(b) applies, the

pleader ordinarily must ‘specify the who, what, where, and when’ regarding the alleged fraud. Alt.

Sys. Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23, 29 (1st Cir. 2004). Other facets of fraud, such

as intent, may be pleaded in general terms. See Fed. R. Civ. P. 9(b); Rodi, 389 F.3d at 15.” Id.

       “Under our jurisprudence, Rule 9(b)'s heightened pleading requirements apply not only to

claims of fraud simpliciter but also to related claims as long as the central allegations of those

claims ‘effectively charge fraud.’ Mulder v. Kohl's Dep't Stores, Inc., 865 F.3d 17, 21-22 (1st

Cir. 2017) (quoting N. Am. Cath. Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 15

(1st Cir. 2009)).” Foisie v. /Worcester Polytechnic Inst., 967 F.3d 27, 49 (1st Cir. 2020).




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         But Rule 9(b) does not demand a blow-by-blow account; as long as a plaintiff has

adequately pleaded the who, what, where, and when of the alleged fraudulent conduct, the rule

does not obligate her to allege every conceivable detail incident to the fraud. See Dumont v. Reily

Foods Co., 934 F.3d 35, 38-39 (1st Cir. 2019) …. And this is all the more true when — as in

this case — the missing details are ‘either irrelevant or the potential subjects of discovery.’”

Dumont, 934 F.3d at 39.” Foisie v. Worcester Polytechnic Inst., 967 F.3d 27, 50–51 (1st Cir.

2020).


IV.      LEGAL ARGUMENT

         a. The class action filed on March 9, 2011 is within any potentially
            applicable statute of limitations period and thus tolled all claims for all
            putative class members

         “A federal class action is no longer ‘an invitation to joinder’ but a truly representative

suit designed to avoid, rather than encourage, unnecessary filing of repetitious papers and

motions.” Am. Pipe & Constr. Co. v. Utah, 414 U.S. 538, 550 (1974). “Thus, the

commencement of the action satisfied the purpose of the limitation provision as to all those who

might subsequently participate in the suit as well as for the named plaintiffs. To hold to the

contrary would frustrate the principal function of a class suit, because then the sole means by

which members of the class could assure their participation in the judgment if notice of the class

suit did not reach them until after the running of the limitation period would be to file earlier

individual motions to join or intervene as parties -- precisely the multiplicity of activity which

Rule 23 was designed to avoid in those cases where a class action is found ‘superior to other

available methods for the fair and efficient adjudication of the controversy.’" Id. at 551.

         It is crystal clear law that the statute of limitations is tolled once a putative class is

asserted and before a court has certified or denied the putative class. In fact, the Supreme Court,

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in making its case for broad protection of potential class members, specifically noted that those

parties to a putative class have tolled the statute. “Rule 23 is not designed to afford class action

representation only to those who are active participants in or even aware of the proceedings in

the suit prior to the order that the suit shall or shall not proceed as a class action. During the

pendency of the District Court's determination in this regard, which is to be made ‘as soon as

practicable after the commencement of an action,’ potential class members are mere passive

beneficiaries of the action brought in their behalf.” Id. at 552.

        The putative class in this case has never been approved or denied. Genzyme Corporation,

however, seeks to not only deprive potential class members of their rights to either join in the

class if it is certified or pursue individual claims if the class is denied, but to take it a step further

and have this Honorable Court hold that Plaintiffs, who timely filed their actions, lose the

protection of Indiana’s savings clause and the parties’ tolling agreement without any legal

justification.

        Genyzme Corporation has long been aware of the putative class, the identities of the

specific Plaintiffs, and the substance of their claims. “The policies of ensuring essential fairness

to defendants and of barring a plaintiff who ‘has slept on his rights,’ are satisfied when, as here, a

named plaintiff who is found to be representative of a class commences a suit and thereby

notifies the defendants not only of the substantive claims being brought against them, but also of

the number and generic identities of the potential plaintiffs who may participate in the judgment.

Within the period set by the statute of limitations, the defendants have the essential information

necessary to determine both the subject matter and size of the prospective litigation, whether the

actual trial is conducted in the form of a class action, as a joint suit, or as a principal suit with

additional intervenors.” Am. Pipe & Constr. Co., 414 U.S. at 554-55.



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        Genzyme Corporation argues that American Pipe tolling does not apply to this case and

that this case is more akin to China Agritech, Inc. v. Resh, 138 S. Ct. 1800 (2018). This

argument fails as China Agritech clearly addresses an entirely different question: “The question

presented in the case now before us: [1] Upon denial of class certification, may a putative class

member, in lieu of promptly joining an existing suit or promptly filing an individual action,

commence a class action anew beyond the time allowed by the applicable statute of limitations?

Our answer is no. American Pipe tolls the statute of limitations during the pendency of a putative

class action, allowing unnamed class members to join the action individually or file individual

claims if the class fails.” Id. at 1804 (bold and underline emphasis added). Genzyme

Corporation is well aware that the putative class has neither been certified or denied, and instead

the parties have been engaged in settlement discussions under the protection of a tolling

agreement. This is quite simply not a follow-on class action lawsuit. This is the same class

action filed in 2011 and well within the statute of limitations.

        Genzyme Corporation does not even attempt to argue that a particular event triggered the

end of the American Pipe tolling and that these Plaintiffs, who are protected by the Indiana

and/or Massachusetts savings statutes and a tolling agreement, should have commenced

individual actions. For example, a putative class member in this case was well within his or her

rights to await a decision on whether the Hochendoner class was certified or denied. In fact, that

is what the courts encourage. At no point did the tolling of putative class members end. The

class is still awaiting a decision on whether it will be certified.

        b.         Plaintiffs’ individual claims should all survive as set forth below

                i. Trina Wilkins (Indiana Resident and party to the original Adamo Action)

       1)       Genzyme Corporation does not oppose Trina Wilkins’ case moving forward for



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acceleration of her disease due to “low dose” Fabrazyme, so the case should move forward on at

least this theory of liability. SAC ¶ 1, ¶¶ 118-120. Similarly, Genzyme does not oppose Trina

Wilkins’ injury claims from anaphylactic reactions from first being sensitized to Fabrazyme from

the “low doses” and then going into anaphylactic shock when normal dosing resumed in 2012, so

her case should move forward on this theory of liability as well. Id. Notably, the anaphylactic

injury occurred after the shortage, not during the shortage. As such, her claim for anaphylactic

shock could not accrue until she had the reaction in 2012. Trina Wilkins’ type of anaphylaxis

claim was previously approved by the First Circuit for Plaintiff James Mooney who was previously

in Hochendoner/Adamo. Hochendoner v. Genzyme Corp., 823 F.3d 724, 731 (1st Cir. 2016).

       2)       The choice of law for Trina Wilkins is procedural and substantive Indiana and

Kentucky law. As discussed herein, Indiana uses a borrowing statute for out of state residents

suing out of state defendants. “A product may be defective under the IPLA [Indiana Product

Liability Act] if it is defectively designed, if it has a manufacturing flaw, or if it lacks adequate

warnings about dangers associated with its use.” Kaiser v. Johnson & Johnson, 947 F.3d 996,

1007 (7th Cir. 2020), and Ind. Code Ann. § 34-20-4-1. For Kentucky, see KRS 411.300(1)

discussed in Monsanto Co. v. Reed, 950 S.W.2d 811 (Ky. 1997). The defense argues in a footnote

that a conflict of law arises, but it does not. Indiana applies the state law of the forum where the

injury occurred for purposes of lex loci delecti (the place of the wrong).      “Indiana applies a two-

step conflicts analysis. Hubbard Mfg. v. Greeson, 515 N.E.2d 1071, 1073 (Ind.1987). First, the

court must determine if the place where the last event necessary to make the defendant liable—that

is, the place of the injury—is insignificant. Id. If it is not, the law of that state applies. Id. Only if

the court finds that the place of injury is insignificant does it move to step two which requires the

court to consider “other factors such as: 1) the place where the conduct causing the injury occurred;



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2) the residence or place of business of the parties; and 3) the place where the relationship is

centered.” Id. at 1073–74. In the instant case, we, like the district court, arrive at the inevitable

conclusion that the place of the injury—Indiana—is not insignificant. Therefore, we apply Indiana

law and need not address the second prong in Indiana's choice-of-law analysis. See Judge v. Pilot

Oil Corp., 205 F.3d 335 (7th Cir.2000).” Land v. Yamaha Motor Corp., 272 F.3d 514, 516–17 (7th

Cir. 2001). “The Lands [motioning party] propose an approach whereby the law of the place of

the tortious conduct is controlling in product liability cases. The state of Indiana has given us no

indication that it intends to change its choice-of-law policy to reach such a result, and we decline

to make that policy decision for it.” Id. “Although Hubbard does note some discomfort with the

rigid place of injury, or lex loci delicti, approach, it still adheres to an analysis that uses the place

of injury as a baseline. 515 N.E.2d at 1073–74. If the place of injury is not insignificant, we must

apply its law regardless of the greater interest another state may have.” Id. at 517. “[I]t was not

mere fortuity that the injury occurred in Indiana, as the Lands suggested by comparing this choice-

of-law determination with those involving pass-through automobile or airplane accidents in which

the place of the injury is given little weight, and the argument that Indiana's contacts have little or

no relevance to the legal action simply cannot withstand scrutiny.” Id. The defense argues like

the Lands did that the place of the injury does not control, but that approach is not adopted by the

Indiana courts. 5

       3)        Genzyme Corporation opposes Ms. Wilkins’ “progression of disease” claim. Ms.

Wilkins, however, is not relying on a theory that low doses caused the “natural progression.”

Hochendoner v. Genzyme Corp., 823 F.3d 724, 732–33 (1st Cir. 2016). Instead, Ms. Wilkins

properly pleads negligent and fraudulent inducement to take “low dose” Fabrazyme (as opposed


5 The district court, as a transferee court sitting in diversity, is obligated to apply the choice-of-law rules

followed by the transferor court. Van Dusen v. Barrack, 376 U.S. 612 (1964).

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to another drug) because the material information of the ineffectiveness of Fabrazyme for treating

Fabry disease was hidden from her, and she properly relied on Genzyme Corporation to inform her

that “low dose” Fabrazyme would be ineffective in treating the disease. 6 SAC ¶ 1. The reliance

causing her injury is recognized in the Restatement (Second) of Torts under negligence theories §

310 (Conscious Misrepresentation Involving Risk of Physical Harm), § 311 (Negligent

Misrepresentation Involving Risk of Physical Harm), § 324A (Negligent Undertaking), § 402B

(Misrepresentation of Material Fact),          and fraud theories § 525 (Liability For Fraudulent

Misrepresentation), § 550 (Liability for Fraudulent Concealment), § 551 (Liability for Fraudulent

Non-disclosure), § 552 (Information Negligently Supplied for the Guidance of Others), § 536

(Fraudulent Misrepresentation Where Statute Requires Disclosure to Protect a Class), and § 557A

(Fraudulent Misrepresentations Causing Physical Harm) and subsumed into the Indiana Product

Liability Act as a theory for a products liability case. 7

       4)       Scienter and the fraudulent scheme are properly plead for the fraud claims because

Dr. Gruskin knew that the low dosing data was false when he sent Ms. Wilkins letters (e.g.




6 “Massachusetts views the Restatement favorably.”     Rodi v. S. New England Sch. of Law, 389 F.3d 5, 14 (1st
Cir. 2004).
7 “In 1995, the Indiana Legislature amended the IPLA to apply to all products-liability actions, regardless

of the substantive legal theory, Ind.Code § 34–20–1–1, and provided that defective-design and
inadequate-warnings claims are to be governed by negligence principles rather than strict liability.” “The
adequacy of a warning (i.e., whether the defendant breached its duty to warn) is generally a question of
fact, but it can be decided as a matter of law when the facts are undisputed and only one inference can be
drawn from those facts.” Weigle, 729 F.3d at 731 (citing Cook v. Ford Motor Co., 913 N.E.2d 311, 327 (Ind. Ct.
App. 2009)). A product may be “defective” under the Indiana Products Liability Act (IPLA) if: (1) it is
defectively designed; (2) it has a manufacturing flaw; or (3) it lacks adequate warnings about dangers
associated with its use. Ind. Code Ann. § 34-20-4-1. Similarly, The “unreasonably dangerous” standard
incorporates the “consumer expectations” test set forth in the Restatement (Second) of Torts: A product is
unreasonably dangerous when it “exposes the user or consumer to a risk of physical harm to an extent
beyond that contemplated by the ordinary consumer who purchases the product with the ordinary
knowledge about the product's characteristics common to the community of consumers.” Ind. Code § 34-
6-2-146; accord Restatemtn (second) of Tort § 402A cmt. i (AM. LAW INST. 1965). See Kaiser v. Johnson &
Johnson, 947 F.3d 996, 1008 (7th Cir. 2020).


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“bullshit” and the Vedder study found “low dose” ineffective, while the Lubanda study was not

reassuring that “low dose” was effective). SAC ¶ 464. A misrepresentation is fraudulent if the

maker (a) knows or believes that the matter is not as he represents it to be, (b) does not have the

confidence in the accuracy of his representation that he states or implies, or (c) knows that he does

not have the basis for his representation that he states or implies. Restatement (Second) of Torts §

526. It is also fatally ambiguous to say “not much is known in the literature” Restatement (Second)

of Torts § 527, as well as being misleading because of its incompleteness. Restatement (Second)

of Torts § 529. Fraud is considered a separate tort from product liability theory in Indiana. The

details of “who, what, where, and when” are laid out in the pleading with precision as are the Bates

numbered documents that Genzyme Corporation already possesses showing its scheme to defraud. 8

       5)        Genzyme Corporation argues that the injuries are not “titrated” with the defect in

the Fabrazyme matched to the injury as was done in Hochendoner. This is not true for acceleration


8        “Under Indiana's discovery rule, a cause of action accrues, and the limitations period begins to
run, when a claimant knows or in the exercise of ordinary diligence should have known of the injury.”
Cooper Indus., LLC v. City of S. Bend, 899 N.E.2d 1274, 1280 (Ind. 2009). Robertson v. State, 141 N.E.3d 1224,
1227 (Ind. 2020) The statute of limitations is 2 years for negligence and six years for fraud.
         As the Indiana courts recognize, the date upon which a plaintiff “discovered facts which, in the
exercise of ordinary diligence, should lead to the discovery of [causation] and resulting injury, is often a
question of fact.” Van Dusen v. Stotts, 712 N.E.2d 491, 499 (Ind.1999). Generally, though, the plaintiff's
suspicion, standing alone, about the source of her injury is insufficient to trigger the onset of the
limitations period. See Evenson, 899 F.2d at 705; Van Dusen, 712 N.E.2d at 499. In contrast, the limitations
period will begin to run when a physician suggests there is a “reasonable possibility, if not a probability”
that a specific product caused the plaintiff's injury. Degussa Corp., 744 N.E.2d at 411; Van Dusen, 712
N.E.2d at 499. In this latter case, a reasonable individual, exercising ordinary diligence, *967 would
pursue the lead and procure “additional medical or legal advice needed to resolve any remaining
uncertainty or confusion regarding the cause of his or her injuries.” Degussa Corp., 744 N.E.2d at 411. The
Indiana courts have cautioned that “ ‘events short of a doctor's diagnosis can provide a plaintiff with
evidence of a reasonable possibility’ that another's product caused his or her injuries.” Id. at 411 (quoting
Evenson, 899 F.2d at 705). And FN 6 In general terms, the discovery rule states that a cause of action
accrues for purposes of the statute of limitations only when the plaintiff knew or reasonably should have
known of his injury and its cause. Nelson v. Sandoz Pharms. Corp., 288 F.3d 954, 966–67 (7th Cir. 2002). Cf.
If a person liable to an action conceals the fact from the knowledge of the person entitled to bring the
action, the action may be brought at any time within the period of limitation after the discovery of the
cause of action.” Ind.Code § 34–11–5–1, Alldredge v. Good Samaritan Home, Inc., 9 N.E.3d 1257, 1258 (Ind.
2014).


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claims and vesivirus claims and particulate claims. However, Genzyme attempt to place a level of

granularity “triply defective” Fabrazyme that is not physically possible due to human biology.

Quite simply, if any one of the defects listed is a substantial cause of the injury (inflammation),

then liability attaches independent of other causes. “If the defendant's negligence is a substantial

factor in producing plaintiff's injury, and if the particular injury suffered is one of a class that was

reasonably foreseeable at the time of the defendant's wrongful act, then there is causal relation in

fact as well as legal cause.” citing Tabor v. Continental Baking Company (1941), 110 Ind.App.

633. Johnson v. Bender, 174 Ind. App. 638, 643 (1977). For inflammation, it is impossible to

identify whether any particular cell in a patient’s body is responding due to exposure to vesivirus,

particulates, or “lose dose” sensitization because immune cells have the same reaction to each

physical insult. On the other hand, it is possible to show that a patient who received triply defective

Fabrazyme has increased inflammation relative to those who took uncontaminated full doses, of

which one or all were substantial factors in causing the inflammation. SAC ¶¶ 125-126. In any

event, the notice function of a pleading is satisfied, especially in that the molecular biology of each

injury is laid out with citations to the appropriate medical literature. It is now time for the fact-

finder to weigh in on causation since the issue is the proper subject of expert testimony and opinion.

      6)       Genzyme Corporation argues that money is not an injury, as if the “low dose”

Fabrazyme failed to deliver an economic expectation under a mercantile contract instead of being

purchased under the false belief that “low dose” Fabrazyme would be of some use in arresting

Plaintiffs’ Fabry disease. When consumers purchase a drug, the primary reason is to effectively

treat their disease, not how it tastes or what color it is. As stated in the Restatement (Second) of

Torts, a fraudulent misrepresentation creates liability for the actor for the “pecuniary loss caused.”

§ 525 (4). Since tort law recognizes pecuniary loss, the claim is properly pled.



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      Moreover, the law has long recognized a fraud can be accomplished both in factum (the

vial contained Fabrazyme) and in the inducement (“low dose” is effective to some degree at least

in the treatment of Fabry disease). The inducement was cultivating the false belief that “low

dose” Fabrazyme would be useful. The defense only argues that the vials were not falsely

labeled as to the contents of the vial and ignore that the inducement to buy the “low dose” was

due to responding to the “strong messaging” of Genzyme to promote “low dose” Fabrazyme.

Failure to tell the Plaintiffs that they would be insane to take “low dose” Fabrazyme and that the

data on “low dose” for treating Fabry was “bullshit” constitutes material and outrageously

deceitful omissions. See also Restatement (Second) of Torts § 551 (Fraudulent non-disclosure)

“One who fails to disclose a fact that he knows may justifiably induce another to act or refrain

from acting in a business transaction is subject to the same liability.”   In similar cases, the First

Circuit has found that “this is a classic benefit-of-the-bargain injury, for which the measure of

damages is “the monetary difference between the actual value of the product at the time of

purchase and what its value would have been if the representations had been true.” Aspinall v.

Philip Morris Cos., 442 Mass. 381, 813 N.E.2d 476, 487 (2004). Lee v. Conagra Brands, Inc.,

958 F.3d 70, 76 (1st Cir. 2020). “No more need be alleged at this stage of litigation.” Lee v.

Conagra Brands, Inc., 958 F.3d 70, 80–81 (1st Cir. 2020).”

      7)       Genzyme Corporation argues that the fraud was subject to the “storm warning

doctrine” in that Plaintiffs were already suspicious of Genzyme Corporation’s promotion of “low

dose” Fabrazyme.     Suspicion does not start accrual of any of the Plaintiffs’ states fraud laws.

“Storm warning” doctrine has only been applied to securities cases and has not been adopted by

Indiana for fraud and fraudulent concealment of dangers or ineffectiveness associated with

pharmaceutical drugs. See also, Young v. Lepone, 305 F.3d 1 (1st Cir. 2002).           In determining



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whether “storm warnings” put investors on notice of possible securities fraud, for limitations

purposes under Rule 10b-5, the reviewing court must first ascertain whether, when, and to what

extent such warnings actually existed, and second whether, once warnings were apparent, investor

probed matter in reasonably diligent manner. Securities Exchange Act of 1934, § 10(b), as

amended, 15 U.S.C.A. § 78j(b); 17 C.F.R. § 240.10b–5.” As such, it is up to the fact finder to

determine when a plaintiff knew of their injury and the fraud respectively.

      8)       For the Kentucky claims, “product liability actions are governed by the Kentucky

Product Liability Act (“KPLA”). See KRS § 411.300–.350.4 A plaintiff may advance three

different causes of actions against a manufacturer: (1) strict liability, (2) negligence, and (3) breach

of warranty. Williams v. Fulmer, 695 S.W.2d 411, 413 (Ky.1985). Additionally, Kentucky law

recognizes three theories of product liability: (1) defective design, (2) defective manufacture, and

(3) failure to warn. Clark v. Hauck Mfg. Co., 910 S.W.2d 247, 251 (Ky.1995), overruled on other

grounds by Martin v. Ohio Cnty. Hosp. Corp., 295 S.W.3d 104 (Ky.2009). To recover under any

product liability claim, the plaintiff must prove the existence of a ‘defect,’ McCoy v. Gen. Motors

Corp., 47 F.Supp.2d 838, 839 (E.D.Ky.1998), and legal causation. Morales v. Am. Honda Motor

Co., Inc., 71 F.3d 531, 537 (6th Cir.1995) (citing Huffman v. SS. Mary & Elizabeth Hosp., 475

S.W.2d 631, 633 (Ky.1972)).” Prather v. Abbott Lab'ys, 960 F. Supp. 2d 700, 705–06 (W.D. Ky.

2013). Plaintiff has alleged defective design in that the Fabrazyme is a pharmaceutical and

therefore Genzyme is strictly liable for the effects of vesivirus and particulates on Trina Wilkin’s

vesivirus infection and her inflammation and her accelerated disease process. The product was

defectively designed in that it was administered at “low” dose which makes it impossible to treat

Fabry disease. Genzyme further failed to warn Trina Wilkins that the data it had collected for

requiring “low dose” during the shortage was “bullshit.” The defense only argues that the causes



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of action should be labeled differently in the complaint, not that the causes of action have not been

properly pled by Trina Wilkins under Kentucky law.

      9)       For the Kentucky Consumer Protection Act, Genzyme Corporation argues that it

and Trina Wilkins were not in privity. However, the Second Amended Complaint pleads privity.

In fact, Genzyme Corporation tracks the health of its customers and communicates through “care

representatives” throughout the course of treatment. This is not the hands-free distance that is

consistent with normal distribution in a chain of sale. The federal district court held that, “while

Kentucky law normally requires buyer–seller privity to maintain a cause of action for breach of

warranty, the Kentucky Supreme Court would give the consumer standing in the case because the

‘express limited warranty was intended to benefit the residential homeowners and not the

distributors who sold [the] product.’ In the second case, Naiser v. Unilever U.S., Inc., 975

F.Supp.2d 727 (W.D. Ky. 2013), the same court expanded this rationale to include scenarios where

the ‘express warranties were clearly intended for the product’s consumers,’ even if the warranties

did not ‘expressly state that they run directly to the intended consumers.’ Id. at 739–40. Yonts v.

Easton Tech. Prod., Inc., 676 F. App'x 413, 420 (6th Cir. 2017). In Levin and Naiser, the consumer

purchased the defective product directly from a retailer; there was only one middleman.” Id. In

any event, the claims should not fail for naming the wrong party. Discovery would be needed to

identify the unwitting pharmacy supplying “low dose” Fabrazyme.

      10)      Genzyme Corporation argues impossibility pre-emption under the Food Drug and

Cosmetics Acts (“FDCA”) by citing PLIVLA v. Mensing, but impossibility only applies to generic,

not branded medications. PLIVA, Inc. v. Mensing, 564 U.S. 604, 617, 131 S.Ct. 2567, 180 L.Ed.2d

580 (2011). Fabrazyme is a “branded” medication because it was the first to market.

       As the Seventh Circuit explains: “A brand-name manufacturer can strengthen a
       warning label without waiting for FDA approval. See 21 C.F.R. §

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        314.70(c)(6)(iii). The FDA requires brand-name manufacturers to file a
        supplement explaining a change in warnings and reserves the right to reject a
        labeling change after it is made. Id. § 314.70(c)(7). In Wyeth v. Levine, 555
        U.S. 555, 129 S.Ct. 1187, 173 L.Ed.2d 51 (2009), the Supreme Court
        considered whether it was impossible for a brand-name drug manufacturer to
        comply with this federal labeling regime and its duties under state tort law. The
        Court rejected the manufacturer's claim of impossibility preemption, noting that
        the FDA permitted a manufacturer “to unilaterally strengthen its warning” to
        comply with state law. Id. at 573, 129 S.Ct. 1187. The Court recognized that
        the FDA could veto such a change, but “absent clear evidence that the FDA
        would not have approved a [warning] change,” no direct conflict between
        federal and state duties could be said to exist. Id. at 571, 129 S.Ct. 1187.”
        Kaiser v. Johnson & Johnson, 947 F.3d 996, 1005, 1010 (7th Cir. 2020).


        Moreover, Genzyme was marketing the drug “off-label” which, under the First Circuit’s

case law from In re Neurontin, especially requires a manufacturer to disclose such additional

information. In re Neurontin Marketing, Sales Practices, and Prods. Liability Litig., 618 F.

Supp. 2d 96, 110 (D. Mass. 2009). Genzyme Corporation acknowledges in its brief that the

statute specifically accommodates and expects new data to be submitted. Similarly, the Supreme

Court held that “[w]hen the risks of a particular drug become apparent, the manufacturer has a

duty to provide a warning that adequately describe[s] that risk. Merck Sharp & Dohme Corp. v.

Albrecht, 139 S. Ct. 1668, 1677 (2019) (internal citations and quotations omitted) (emphasis

added); Wyeth v. Levine, 555 U.S. 555, 571 (2009). It is clear why Genzyme did not update the

label. It did not want anyone (except for the Australians) to know that taking “low dose”

Fabrazyme would be insane. 9 Finding impossibility pre-emption in the current case would

simply overturn Wyeth v. Levine, 555 U.S. 555, (2009).



9 Genzyme insinuates that the FDA would have enforced the statute if there had been anything wrong

with “low dose” Fabrazyme, but the more credible explanation for non-enforcement was that Genzyme
simply did not submit any data to the U.S. authorities fearing the same rejection it had received in
Europe. It also insinuates that acknowledging in a website that statutes of limitations exist is an
admission that the statute of limitations has passed. The proposition is false. Statutes of limitations
issues are fact-specific, which is why a lawyer should be consulted. Thus, nothing is “conceded.”

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      11)      Genzyme Corporation also argues that the statute of limitations has lapsed on all of

Ms. Wilkins’ causes of action. Genzyme Corporation is vague as to which arguments apply to

which Plaintiffs, but it implies that Ms. Wilkins’ case was “filed too late” in Indiana in 2020. First,

she was protected by a tolling agreement that was signed by counsel for both parties in this case.

The agreement shows that the cause of action is not late by means of American Pipe tolling, the

tolling agreement, and estoppel if it was filed by February 29, 2021. The case was filed on February

29, 2021. Thus, the case is timely filed and relates back to the original Adamo complaint.

      As to the original Adamo action, it was filed within two years of the end of the shortage.

Genzyme Corporation argues that this is too late, but it could not have been. Ms. Wilkin’s

reaction to full dose occurred when the shortage ended and she was supplied full dose. SAC ¶

118. In other words, the injury accrued when the normal dosing resumed in 2012, not the first

“low dose.”

      As to the other theories of liability, the repeated and continued misrepresentations causes

the accrual date to extend to any subsequent sale of Fabrazyme after receiving the first low dose.

“One who deals with another in a business transaction… knowing that the other is relying upon

the maker's misrepresentation previously made… in another and earlier transaction is subject to

the same liability as though the maker had repeated the representation for the purpose of

influencing the recipient's conduct in the later transaction.” Restatement (Second) Torts § 535

Continuing Misrepresentations. As such, the penultimate sale of “low dose” Fabrazyme at the

end of the shortage in 2012 is the accrual date for any statute of limitations based on

misrepresentation, not the first sale of “low dose” Fabrazyme in 2009.

      Moreover, the Indiana Supreme Court has stated that “For centuries, our justice system has

operated under the principle that a person who commits fraud should not be permitted to gain



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thereby. See, e.g., Talbot v. Jansen, 3 U.S. 133, 158, 3 Dall. 133, 1 L.Ed. 540 (1795) (Paterson,

J.) (“Hence the efficacy of the legal principle, that no man shall set up his own fraud or iniquity,

as a ground of action or defence.”); Bd. of Comm'rs of Clinton Cnty. v. Davis, 162 Ind. 60, 69

N.E. 680, 683 (1904) (“It is a maxim of the law that no man shall be permitted to profit by, or

take advantage of, his own wrong, or to found any claim upon his own iniquity.”). As applied to

statutes of limitation, this principle means “the statute in good conscience can not run until the

party has a right to commence his suit, and that right can not accrue in the case of fraud, until the

injured party is informed of the injury done or fraud committed.” Raymond, 4 Blackf. at 84–85.

Thus, a tortfeasor's fraudulent concealment of his wrong ordinarily will operate to toll the statute

of limitation until the plaintiff discovers the wrong. Doe v. Shults–Lewis Child & Family Servs.,

Inc., 718 N.E.2d 738, 744–45 (Ind.1999) (citing Fager v. Hundt, 610 N.E.2d 246, 251

(Ind.1993)). At that point, the plaintiff has ‘a reasonable amount of time’ to bring his claim. Id. at

745. And that language has survived to the present day without substantive amendment. The

Fraudulent Concealment Act now provides: “If a person liable to an action conceals the fact from

the knowledge of the person entitled to bring the action, the action may be brought at any time

within the period of limitation after the discovery of the cause of action.” Ind.Code § 34–11–5.

Alldredge v. Good Samaritan Home, Inc., 9 N.E.3d 1257, 1262 (Ind. 2014). “[I]f the parties are

in a fiduciary relationship such that the defendant had a duty to disclose the existence of the

claim to the plaintiff, the concealment need not be active; the defendant's failure to fulfil that

duty may be sufficient to invoke the protection of the statute. Malachowski, 590 N.E.2d at 563.”

Id. “The question… is not, are there allegations of fraudulent concealment in the complaint, but

rather, is a party entitled to plead and prove such a defense (if the facts exist) against the statute

of limitations? Fraud vitiates anything. Courts will not uphold fraud, or presume the Legislature



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intended to do so by allowing one in a confidential relationship to conceal an injury done another

until the statute of limitations has run. …. Id. at 111, 138 N.E.2d at 896–97 (emphasis added).”

Alldredge v. Good Samaritan Home, Inc., 9 N.E.3d 1257, 1263 (Ind. 2014). As such, the accrual

date for the fraud/misrepresentations related claims is the unsealing of the Schubert complaint

that occurred while this case was already pending in Indiana. Therefore, since the Plaintiff

facially pled facts that are within the statute of limitations, dismissal at the pleading stage is

inappropriate. To the extent Genzyme argues that the case was not filed within one year of the

dismissal of Adamo, the Massachusetts’ and/or Indiana savings statutes apply. 10

       Similarly, the original class action in Hochendoner is tolled under American Pipe until

certification is granted or denied. Because there has never been a certification decision, the

Adamo case was timely filed in 2013 as was this case in 2020.

       12)       The Fraud and Fraudulent Inducement claims are valid. Genzyme Corporation

argues in a single paragraph that there is failure to plausibly allege that Genzyme Corporation made

knowing misrepresentations. However, Genzyme Corporation ignores the information gleaned

from Schubert’s Fourth Amended Complaint. Genzyme Corporation’s own employee, Dr. Daniel

Gruskin, Director of Medical Affairs, stated that Genzyme sent “bullshit data” on “low dose”

Fabrazyme to the European Medical Authority and felt that Genzyme should not have been

surprised when the data was rejected as well as “low dose” treatment for Europeans. See Complaint

SAC ¶ 339. In making representations to the U.S. advisory authority for the shortage, U.S. FSWG.


10 The impending one-year date for the savings statute was the inducement for the Plaintiffs to enter into
the tolling agreement. Under Massachusetts law, if an action is duly commenced within the limitations
period and then dismissed for “any matter of form,” the plaintiff is entitled to “commence a new action
for the same cause within one year after the dismissal.” Mass. Gen. Laws ch. 260, § 32. The savings statute
applies, inter alia, to an action originally filed and dismissed in a court of another state or in a federal
district court.” Rodi v. S. New England Sch. of Law, 389 F.3d 5, 12 (1st Cir. 2004) See Boutiette v. Dickinson, 54
Mass.App.Ct. 817, 768 N.E.2d 562, 563–64 (2002); Liberace v. Conway, 31 Mass.App.Ct. 40, 574 N.E.2d 1010,
1012 (1991).

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Dr. Gruskin stated “did we lie to the FSWG?” to which Genzyme Corporation’s marketing director,

John King, said “we are the only ones who didn’t”. Dr. Daniel Gruskin, further sent letters to the

Plaintiffs which he described in an internal e-mail as “lie (sic) update” about the length of the

shortage and that Genzyme was doing all it could to “help the most vulnerable patients, while

knowing that the statement “little is known in the literature” about “low dose” is dangerously

misleading.   SAC ¶ 329. His deposition testimony revealed there was no evidence to support

giving “low dose” Fabrazyme to patients. SAC ¶ 246. In further documents, Genzyme authorities

told the Australian regulatory authorities not to purchase “low dose” Fabrazyme because blanket

dose adjustments “would be insane.” SAC ¶ 465.         The actions and statements of Genzyme’s

agent, Daniel Gruskin M.D. are properly pled with particularly.      Genzyme Corporation again

argues impossibility pre-emption, which does not exist for branded drug manufacturers as

described above.

      13)      Genzyme Corporation does not seriously challenge the claim for breach of fiduciary

duty. First, it refers to the wrong law. As described above, the lex loci delicti doctrine used by

Indiana is the place of the injury, not a balancing test used in Massachusetts.     Secondly, the

allegation of a close relationship is properly pled. SAC ¶ 1. This pleading is not conclusory. “A

confidential or fiduciary relationship exists when confidence is reposed by one party in another

with resulting superiority and influence exercised by the other.” Kalwitz v. Estate of Kalwitz, 822

N.E.2d 274, 281 (Ind. Ct. App. 2005), trans. denied.” Butler v. Symmergy Clinic, PC, 158 N.E.3d

407, 414 (Ind. Ct. App. 2020). Dr. Gruskin is an archetypal fiduciary and he sent the “lie (sic)

update” to Ms. Wilkins. The close contact by physicians and personal case managers who knew

her communicated with her directly (not at arm’s length) was intended to convey a “strong

messaging” to Ms. Wilkins and the other Plaintiffs and their physicians to accept “low doses.”



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SAC ¶ 221. The pleading even cites to case managers within Genzyme who questioned the way

information was being dispensed to patients. While Genzyme Corporation is indeed a biologics

manufacturer, it also employs case managers such as nurses and social workers to communicate

directly with customers in archetypal fiduciary roles. “[T]here is a fine line between containing

the message and keeping people in the dark. This was not the time for mushroom management.

(Keep them in the dark and watch them grow!) Without the complete picture, I felt like my

communication with patients was inauthentic, stilted, and potentially damaging with some

patients.” SAC ¶ 272, emphasis added (not distributors but actual patients). While Genzyme

Corporation is indeed a manufacturer, it stepped into a fiduciary role by directly influencing the

doctor-patient relationship and circumventing the independent judgment of prescribing physicians,

thereby stepping into a physician’s role. SAC ¶ 221. This is not a routine power-imbalance. The

substance of this relationship is an issue for the fact-finder.

       14)         In Indiana, “[a] ‘person who has been unjustly enriched at the expense of another is

required to make restitution to the other.’(quoting Restatement (First) of Restitution § 1 (1937)).

To prevail on a claim of unjust enrichment, a plaintiff must establish that a measurable benefit has

been conferred on the defendant under such circumstances that the defendant's retention of the

benefit without payment would be unjust.” Zoeller, 904 N.E.2d at 220; Bayh v. Sonnenburg, 573

N.E.2d 398, 408 (Ind.1991), reh'g denied. Ms. Wilkins properly pled a claim for unjust enrichment

because Genzyme knew that “low dose” Fabrazyme would be ineffective for treating her Fabry

disease. SAC ¶ 1; see also, Kohl's Indiana, L.P. v. Owens, 979 N.E.2d 159, 167 (Ind. Ct. App.

2012). Therefore, the claim for unjust enrichment is properly pled by Ms. Wilkins as an alternative

cause of action in equity if her claims at law are dismissed.

             ii.      James Bishop (Massachusetts resident and party to the original Adamo



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                    Action) 11

       1)       Genzyme does not oppose James Bishop’s claim based on acceleration of his

disease due to “low dose” Fabrazyme, so the case should move forward on at least that theory of

liability. Mr. Bishop does not plead an anaphylactic response to full dose as Ms. Wilkins did.

       2)       For purposes of lex loci delecti in an Indiana forum law, Massachusetts law

applies as discussed supra. Indiana applies its borrowing statute to foreign cases where the

Plaintiff and Defendant have no connection with the state, so the statute of limitations is applied

based on citizenship of the injured party. 12

       3)       Genzyme opposes “progression” of disease, but as previously explained, this is

not a claim of “natural progression.” Mr. Bishop properly pleads negligent and fraudulent

inducement to take “low dose” Fabrazyme because the material information of the

ineffectiveness of “low dose” Fabrazyme for treating Fabry disease was hidden from him, and he

properly relied on Genzyme to inform him that “low dose” Fabrazyme would be ineffective in

treating the disease. SAC ¶ 2. The reliance causing him injury is recognized in the Restatement

(Second) of Torts under Negligence Theories § 310 (Conscious Misrepresentation Involving Risk

of Physical Harm), § 311 (Negligent Misrepresentation Involving Risk of Physical Harm), §

324A (Negligent Undertaking), § 402B (Misrepresentation of Material Fact), and Fraud Theories

§ 525 (Liability For Fraudulent Misrepresentation), § 324A(b) (Negligent Undertaking); § 550



11 While the claims and the plaintiffs are required to be matched for analysis under Hochendoner, the

rebuttals to the defense opposition are shortened herein but not to the exclusion of arguments presented
for other Plaintiffs.
12 A conflict of law only arises in an Indiana court between an Indiana resident and a foreign resident, not

two foreign residents. See In re E. Livestock Co., LLC, 547 B.R. 277 (Bankr. S.D. Ind. 2016). (IN 34-11-4-2
Bar of cause of action as defense Sec. 2. When: (1) a cause of action arose outside of Indiana against a
nonresident defendant; (2) the defendant does not maintain an agent in Indiana for service of process or
other person who, under the laws of Indiana, could be served with process as agent for the defendant;
and (3) the cause is fully barred by the laws both of the place where the defendant resides and of the
place where the cause of action arose; the bar of the cause of action under subdivision (3) is a defense.

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(Liability for Fraudulent Concealment), § 551 (Liability for Fraudulent Non-disclosure), § 552

(Information Negligently Supplied for the Guidance of Others), § 536 (Misrepresentation While

Under Statutory Duty to Disclose), and § 557A (Fraudulent Misrepresentations Causing Physical

Harm). The details of “who, what, where, and when” are laid out in the pleading with precision

as are the Bates numbered documents that Genzyme already possesses showing its own scienter.

       4)       The facts are properly plead for the fraud claims because Dr. Gruskin knew that

the data on low dose was false when he sent Mr. Bishop letters (e.g. “bullshit” and the Vedder

study found “low dose” ineffective, while the Lubanda study was not reassuring that “low dose”

was effective). A misrepresentation is fraudulent if the maker (a) knows or believes that the

matter is not as he represents it to be, (b) does not have the confidence in the accuracy of his

representation that he states or implies, or (c) knows that he does not have the basis for his

representation that he states or implies. Restatement (Second) of Torts § 526. The details of

“who, what, where, and when” are laid out in the pleading with precision as are the Bates

numbered documents that Genzyme already possesses showing its own scienter. 13

       5)       Genzyme argues that the injuries are not “titrated” with the defect in the

Fabrazyme matched to the injury as was done in Hochendoner. This is not true for acceleration

claims and vesivirus and particulate claims. SAC ¶ 2. As to triply-inflammatory Fabrazyme, the

same reasoning used for Ms. Wilkins’ claims apply. To the extent any one of the defects are a

substantial factor in the injury, the claim is properly pled.

       6)       Genzyme also argues that loss of money is not an injury; however, “[o]ne who

fails to disclose a fact that he knows may justifiably induce another to act or refrain from acting



13 As to the accrual date, Massachusetts law states that “A claim for fraudulent misrepresentation does

not begin to accrue until “a plaintiff learns or reasonably should have learned of the misrepresentation.”
Kent v. Dupree, 13 Mass.App.Ct. 44, 429 N.E.2d 1041, 1043 (1982).

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in a business transaction is subject to the same liability.” Similarly, Massachusetts courts have

found in comparable cases that “this is a classic benefit-of-the-bargain injury, for which the

measure of damages is “the monetary difference between the actual value of the product at the

time of purchase and what its value would have been if the representations had been true.”

Aspinall v. Philip Morris Cos., 442 Mass. 381, 813 N.E.2d 476, 487 (2004). Lee v. Conagra

Brands, Inc., 958 F.3d 70, 76 (1st Cir. 2020). “No more need be alleged at this stage of

litigation.” Lee v. Conagra Brands, Inc., 958 F.3d 70, 80–81 (1st Cir. 2020).”

      7)        The “Storm warning” doctrine has not been adopted by Massachusetts for fraud

and fraudulent concealment of dangers or ineffectiveness associated with pharmaceutical drugs.

See also, Young v. Lepone, 305 F.3d 1 (1st Cir. 2002).

      8)       As to negligence, Plaintiff has properly alleged (1) defective design, (2) defective

manufacture, and (3) failure to warn. The contamination claims for vesivirus and particulates

sound in negligence as well as implied warranty of merchantability. The fact that pure

Fabrazyme is approved by the FDA at an approved dose does not create a defense for distributing

contaminated drugs, and Genzyme does not point to any case law where such a defense has even

been considered by a court. The FDA warning label only shields a company to the extent that the

drug was tested. Obviously, the clinical trials for Fabrazyme did not include a study for

“Fabrazyme with particulates” or “Fabrazyme with vesivirus” because such a clinical study

would never have been approved in the first place.

       The “low dose” claims are ones of defective warning. As held by the First Circuit, if a

drug is marketed off-label, then a duty to warn about all the observed side-effects and lack of

effectiveness applies with even more force. While Massachusetts does not recognize negligence

per se, it does allow breach of regulatory laws as evidence. Moreover, the nexus between a



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vesivirus contamination and a vesivirus infection is plead with particularity. The regulatory laws

being breached are the state (not the federal) Pure Food and Drug Acts, which co-exist peacefully

as described in Wyeth v. Levine. 14

       9)       The defense is correct that a 93A letter was not sent to Genzyme. The

Massachusetts deceptive trade practices claim has been eliminated from the proposed Third

Amended Complaint.

       10)      Impossibility preemption does not apply since Fabrazyme is a branded drug, as

discussed above.

       11)      Genzyme opposes James Bishop’s case moving forward arguing that the statute of

limitations has expired. As discussed previously, the current action was filed under a savings

statute and a tolling agreement. To the extent, Genzyme is arguing that the Adamo action was

filed late, it was protected under the American Pipe tolling from the Hochendoner filing.           To the

extent that Genzyme is arguing that the Wilkins case was not filed within one year of dismissal,

the approaching one year Massachusetts Saving Statute was the inducement to enter into the

tolling agreement in the first place. To the extent Genzyme is arguing that the fraud claims

should have been filed sooner, there would be no possibility of such a claim accruing until the

Plaintiffs learned of the fraud. Moreover, the serial sale of “low dose” Fabrazyme without full

disclosure extended the tort under the Restatement (Second) Torts § 535 Continuing



14 “In keeping with Congress' decision not to pre-empt common-law tort suits, it appears that the FDA
traditionally regarded state law as a complementary form of drug regulation. The FDA has limited
resources to monitor the 11,000 drugs on the market,and manufacturers have superior access to
information about their drugs, especially in the postmarketing phase as new risks emerge. State tort suits
uncover unknown drug hazards and provide incentives for drug manufacturers to disclose safety risks
promptly. They also serve a distinct compensatory function that may motivate injured persons to come
forward with information. Failure-to-warn actions, in particular, lend force to the FDCA's premise that
manufacturers, not the FDA, bear primary responsibility for their drug labeling at all times. Thus, the
FDA long maintained that state law offers an additional, and important, layer of consumer protection
that complements FDA regulation.” Wyeth v. Levine, 555 U.S. 555, 578–79 (2009).

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Misrepresentations until 2012 and were not even discoverable until 2020. “One who deals with

another in a business transaction… knowing that the other is relying upon the maker's

misrepresentation previously made… in another and earlier transaction is subject to the same

liability as though the maker had repeated the representation for the purpose of influencing the

recipient's conduct in the later transaction.” Misrepresentations would include, but not be limited

to, not disclosing that U.S. patients would be insane to take low doses and that the Vedder study

on low dose was “bullshit data.”

       12)          The Fraud and Fraudulent Inducement claims are valid. The actions and

statements of Genzyme’s agent, Daniel Gruskin M.D., confirm that Genzyme was selling an

ineffective drug, while it gaslighted patients into believing the company was trying to protect

them. Mr. Bishop received letters from Dr. Gruskin as well.

       13)          Breach of fiduciary duty is not seriously challenged. Dr. Gruskin and the case

managers used their positions as a health care professional to induce professional reliance and

trust in Genzyme.

       14)          Unjust enrichment is properly plead. Plaintiff Bishop conferred a pecuniary

benefit to Genzyme due to its deceit, which is unjust.

             iii.      Amber Britton (Washington state resident and party to the original
                       Hochendoner Action) 15

       1)           Amber Britton’s claims are only mentioned once by the defense in a footnote

arguing that her claims expired in 2013, which is impossible. She had a case pending in 2013 and

was covered under the tolling agreement in 2017, so the expansive arguments regarding the statute

of limitations do not apply. Moreover, the Washington Supreme Court has stated that when the


15 While the claims and the plaintiffs are required to be matched for analysis under Hochendoner, the

rebuttals to the defense opposition are shortened herein but not to the exclusion of the arguments
presented for previous Plaintiffs.

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statute of limitations is disputed, as here, the issue is for the fact finder. “For reasons discussed

hereafter we hold that the claimant must know or should with due diligence know that the cause in

fact was an alleged defect. Whether the claimant knew or should have known will ordinarily be a

question of fact. That the causal connection usually is a question of fact is recognized.” N. Coast

Air Servs., Ltd. v. Grumman Corp., 111 Wash. 2d 315, 319, (1988). “This statute is intended to

give the plaintiff a fair chance to ascertain the harm and its cause. Protection to the defendant is

afforded by the provision that plaintiff may be barred if plaintiff did not exercise due diligence in

discovering the harm and its cause.” Id. at 328. “Our interpretation is consistent with the

legislative declaration of purpose to treat all parties in a balanced fashion and without unduly

impairing the rights of one injured as a result of an unsafe product.” Id. “Subsection (c) extends

the limitation period beyond the time of harm in situations where the claimant would have no

reason to know about the harm or the causal connection to a defective product (e.g., the case of

long-term pharmaceutical harms).” N. Coast Air Servs., Ltd. v. Grumman Corp., 111 Wash. 2d

315, 327, (1988).

      2)       The choice of law for the statute of limitations is controlled by the Indiana

borrowing statute where the Plaintiff and Defendant are both foreign to Indiana, which means that

Washington state law is applied, as discussed supra. Substantively, Plaintiff and defense agree

that Washington state law is applied.

      3)       As a reminder, Amber Britton did not receive “low doses” because Genzyme told

her it could not provide her any doses, but it also did not tell her she could seek the alternative

Replagal. Genzyme rejected her prescription despite the fact that Genzyme was waiving its

allocation rules for some but not others. SAC ¶ 4, SAC ¶ 231. She forewent treatment as a result.

As such, her claims are not for the defective Fabrazyme during the shortage, but negligent



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undertaking under the Genzyme’s capricious allocation system for treatment that favored some but

not others (see the Genzyme Contingency Plan), fraudulent concealment and misrepresentation,

and breach of fiduciary duty in communicating with her and her doctor about the end of the

shortage and affirmatively deciding not to tell her about the source an alternative treatment through

the Compassionate Use Program.

      More specifically, her reliance on Genzyme’s information caused her injuries recognized in

the Restatement (Second) of Torts under Negligence Theories § 310 (Conscious Misrepresentation

Involving Risk of Physical Harm), § 311 (Negligent Misrepresentation Involving Risk of Physical

Harm), § 324A (Negligent Undertaking) and Fraud Theories § 525 (Liability For Fraudulent

Misrepresentation), § 324A(b) (Negligent Undertaking);           § 550 (Liability for Fraudulent

Concealment), § 551 (Liability for Fraudulent Non-disclosure), § 552 (Information Negligently

Supplied for the Guidance of Others), § 536, and § 557A (Fraudulent Misrepresentations Causing

Physical Harm). cf. “A ‘product liability claim’ under the WPLA preempts any claim or action

that previously would have been based on any “substantive legal theory except fraud, intentionally

caused harm or a claim or action brought under the consumer protection act, chapter 19.86 RCW.”

RCW 7.72.010(4); see Graybar, 112 Wash.2d at 860; Wash. State Physicians Exch. & Ass'n v.

Fisons Corp., 122 Wash.2d 299, 323 (1993); La.-Pac. Corp. v. ASARCO Inc., 24 F.3d 1565, 1584

(9th Cir.1994). Bylsma v. Burger King Corp., 176 Wash. 2d 555, 559 (2013). The fraud is pled

with particularity by referencing the Genzyme “Contingency Plan”, the communications to doctors

through the FSWG, and Dr. Daniel Gruskin’s representations to Fabry patients as discussed

previously.

      4)       The defective product claims are limited to receiving vesivirus contaminated

Fabrazyme in 2013 and 2015, which is not mentioned in the Motion to Dismiss. Her vesivirus



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injuries are properly pled under the Washington Product Liability Act and Deceptive Trade

Practices Act as is the need to medically monitor her since she is a female. See Fabrazyme FDA

label: “17. PATIENT COUNSELING INFORMATION Patients should be informed that a

Registry has been established in order to better understand the variability and progression of Fabry

disease in the population as a whole and in women [see Use in Specific Populations (8.6)], and to

monitor and evaluate long-term treatment effects of Fabrazyme.” SAC Fn. 4. Notably, these

vesivirus claims have been removed in the proposed Third Amended Complaint to focus the issues

on what Genzyme told her and what was hidden from her.

      5)       Regarding the Washington Product Liability Act and Deceptive Trade Practices

Act, Genzyme collapses both claims and only argues that the vesivirus contaminated vials did not

cause her to be exposed to vesivirus. In other words, it argues the adequacy of proof presented,

not the sufficiency of the pleading.   The learned intermediary doctrine does not apply because

Genzyme offered ambiguous statements that the Fabrazyme contained vesivirus or that the virus

was dangerous. SAC ¶ 53, ¶ 67.         No physician ever prescribed any Category B biodefense

pathogen for injection into humans. The breach of warranty is pled under the Washington Product

Liability act as a theory subsumed by the Act not in contravention to the Act. The deceptive trade

practice is simply that Genzyme did not tell Ms. Britton about the contamination or that vesivirus

was dangerous to humans. SAC ¶ 158.

      6)       The “Storm Warning” doctrine does not apply as discussed supra.

      7)       Impossibility Preemption does not apply for vesivirus claims. Contaminations are

to be reported immediately to the FDA and patients under the internal corporate standard at

Genzyme and the FDCA as a deviation. SAC ¶P 68-69.

      8)       Economic expectations do not apply to Ms. Britton’s claim for contamination as it



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is a defect that caused a physical harm.

       9)         A cause of action for unjust enrichment is properly pled. “Unlike the law of

conversion, which requires that the transferee have wrongfully received the property of another,

the law of restitution requires only that the transferee have received the property of another under

circumstances that result in the transferee's “unjust enrichment.” The Washington Supreme Court

embraced or re-embraced these general principles in Nelson v. Appleway Chevrolet, Inc..”

Davenport v. Washington Educ. Ass'n, 147 Wash. App. 704, 726 (2008).


            iv.      Toni Cordova (Nevada state resident and party to the original Adamo Action)

       1)         Toni Cordova’s claims are only mentioned once in the Motion to Dismiss, in a

footnote arguing that her claims expired in 2013 which is impossible. She had a case pending in

2013 and was covered under the tolling agreement in 2017, so the expansive argument of the statute

of limitations does not apply. “The statute of limitations begins to run when a plaintiff discovers

facts suggesting a potentially negligent cause of harm and not when the injury itself is discovered.”

Crabb v. Harmon Enterprises, Inc., 130 Nev. 1167 (2014). 16

       2)         Choice of law for the statute of limitations is Nevada law under the Indiana

borrowing statute and substantive Nevada law for the reasons previously described.

       3)         Factually, Ms. Cordova’s case is also unique in that she was granted access to

Fabrazyme during the shortage, unlike Plaintiff Amber Britton.                    However, her condition

accelerated under the “low dosing.” SAC ¶ 5. “Under Nevada law, a product may contain a defect

that renders it unreasonably dangerous if it lacks adequate safety features or if a safer design is

feasible. Ford Motor Co. v. Trejo, 133 Nev. 520, 525 (2017)(identifying design defects as a theory


16 Bemis v. Estate of Bemis, 114 Nev. 1021, 1025, 967 P.2d 437, 440 (1998) (“Whether plaintiffs exercised

reasonable diligence in discovering their causes of action is a question of fact to be determined by the jury
or trial court after a full hearing.”)

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of strict products liability recognized in Nevada); Fyssakis v. Knight Equip. Corp., 108 Nev. 212,

214 (1992)(explaining that a plaintiff may establish that a product is defective by showing that it

“lacked adequate safety features or that a safer alternative design was feasible at the time of

manufacture”). The same is true of a product that does not “include a warning that adequately

communicates the dangers that may result from its use or foreseeable misuse.” 17 A safer design

was clearly possible in which full doses would be available if patients deteriorated or, at a

minimum, Genzyme was duty-bound to warn about the possibility of accelerated Fabry disease as

discussed previously.

       4)       Ms. Cordova also has valid claims sounding in both negligence and fraud for the

concealment of the dangers of low doses like the other Plaintiffs who did not know that taking low

doses would be “insane.” SAC ¶ 310. The reliance causing her injuries is recognized in the

Restatement (Second) of Torts under Negligence Theories § 310 (Conscious Misrepresentation

Involving Risk of Physical Harm), § 311 (Negligent Misrepresentation Involving Risk of Physical

Harm), § 324A (Negligent Undertaking) § 402B (Misrepresentation of Material Fact) and Fraud

Theories § 525 (Liability For Fraudulent Misrepresentation), § 324A(b) (Negligent Undertaking);

§ 550 (Liability for Fraudulent Concealment), § 551 (Liability for Fraudulent Non-disclosure), §

552 (Information Negligently Supplied for the Guidance of Others), § 536 (Misrepresentations

Under a Statutory Duty to Inform), and § 557A (Fraudulent Misrepresentations Causing Physical

Harm).

       5)       Fraud and Breach of Fiduciary Duty are also properly pled for the same reasons that

the claims of Trina Wilkins and the remaining Plaintiffs that they received low doses are properly



17 “Since it is not clear that the soap's warning adequately communicated that the soap could cause

blindness, we conclude that Fyssakis has raised a genuine issue of fact as to whether the soap was
defective.” Fyssakis v. Knight Equip. Corp., 108 Nev. 212, 214 (1992)

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pled. The communications from Genzyme led Ms. Cordova to believe “low dose” would be at of

least some benefit in treating her disease despite Genzyme knowing otherwise.

      6)       Genzyme does not seriously challenge the pleading of the Nevada Unfair Trade

Practices Claim. Indeed, Genzyme even cites that the regulatory approval only applies when the

conduct was in compliance with the law. Off-label marketing is not in compliance with the FDCA.

Indeed, some of the largest awards in civil enforcement actions by the FDA are where the

manufacturer engaged in off-label marketing as discussed by the First Circuit in In re Neurotin

RICO case. The argument that the label did not say that a low dose was not “as efficacious” as a

full dose, makes no sense in light of the specific allegations of fraud, where Genzyme knew that

low doses did not work at all for treating Fabry disease. Similarly, the “failure to supply” the

market is different that supplying the market with doses of drug the manufacturer knows to be

insane to administer to patients. SAC ¶ 465.

      7)       Breach of fiduciary duty is not seriously challenged. Dr. Gruskin and the case

managers used their positions as a health care professional to induce reliance and trust in Genzyme.

      8)       Unjust enrichment is properly pled. “Unjust enrichment exists when the plaintiff

confers a benefit on the defendant, the defendant appreciates such benefit, and there is “‘acceptance

and retention by the defendant of such benefit under circumstances such that it would be

inequitable for him to retain the benefit without payment of the value thereof.’” Unionamerica

Mtg. v. McDonald, 97 Nev. 210, 212, 626 P.2d 1272, 1273 (1981) (quoting Dass v. Epplen, 162

Colo. 60, 424 P.2d 779, 780 (1967)). Certified Fire Prot. Inc. v. Precision Constr., 128 Nev. 371,

381, 283 P.3d 250, 257 (2012). It is unconscionable that a company would force Americans to

take a “low dose,” while knowing such a dosing was insane for treating the disease. Retention of

the money for forcing patients to buy a useless drug to treat their disease shocks the conscious.



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            v.       John Cortina (New York state resident and party to the original Adamo Action)

       1)        John Cortina’s claims are only mentioned once in Genzyme’s motion. Genzyme

objects to John Cortina pleading negligence per se under the FDCA. However, John Cortina is

not alleging a violation of federal law but the state Pure Food and Drug act, so the claims are

valid. Genzyme did not oppose his particular case proceeding under any other theory or set of

laws. As such his claims for Negligence, Strict Liability, Breach of Implied or Express Warranty

must survive. 18 Mr. Cortina’s claims are not challenged on the statute of limitations, which is

three years for product liability claims. 19 Mr. Cortina was covered under the tolling agreement

as well.

       2)        The choice of law for the statute of limitations is New York law under Indiana’s

borrowing statute and substantive New York law.

       3)        Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory rebutted supra and apply with equal force to John Cortina’s

claims. SAC ¶ 6. Impossibility pre-emptions similarly does not apply.

       4)        Genzyme references a few New York cases, but they do not match the fact pattern

currently being alleged.

       First, “a seller of drugs is only required to give a warning if he has knowledge of the

dangerous ingredient or side effect, or if by the application of reasonable, developed, human skill

and foresight he should have such knowledge. (Comment j. to Restatement, Second, Torts s

402A). But this does not mean a retail pharmacist, like the appellant, is under any obligation to



18 Plaintiffs have never pled “Fraud on the FDA.”    The FDA was bypassed entirely since the marketing
was off label.
19 The statute of limitations for claims based on fraud is the greater of six years from the date the cause of

action accrued or two years from the time plaintiff discovers the fraud, or could with reasonable diligence
have discovered it (CPLR 213(8)). Cusimano v. Schnurr, 137 A.D.3d 527, 531, (2016) (8)).

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independently test the drug's chemical structure for side effects or other possible risks.” Bichler

v. Willing, 58 A.D.2d 331, 335, (1977). Obviously, Genzyme is a manufacturer not a retail

pharmacist.

      Second, In Covidien’s motion to dismiss under 12(b)6 and Rule 9(b), the Progrip hernia

mesh was the only device that did not meet the pleading standard for defective design, failure to

warn, negligent misrepresentation, and consumer fraud under NYGBL §§ 349 and 350.

However, the motion was denied for the NYGBL §§ 349 and 350 claims as to the Parietex mesh,

and breach of implied warranty with regard to both meshes’ defective design and the Parietex

mesh’s failure to warn, as well as Mrs. Dunham’s claims for loss of consortium derived from any

of those claims. Dunham v. Covidien LP, No. 19 CIV. 2851 (LLS), 2019 WL 6341179, at *7

(S.D.N.Y. Nov. 27, 2019). The factual allegations of fraud in the Covidien case were less

specific than the current Wilkins case. Indeed, Covidien specifically references inflammation as

an injury as does John Cortina.

      Third, “when the warning given to the prescribing doctor by the manufacturer through

package inserts gives specific detailed information on the risks of the product, the manufacturer

has been held absolved as a matter of law.” Lawrence v. Sofamor, S.N.C., No. 95-CV-1507,

1999 WL 592689, at *4 (N.D.N.Y. Aug. 2, 1999). However, nothing specific in the warning

label for Fabrazyme even discusses “low dose” or vesivirus or particulates.

      Finally, Genzyme cites that “Under New York law, a claimant must adduce evidence

showing that a failure to warn was a substantial factor in causing [plaintiff’s] injury.” Quintana

v. B. Braun Med. Inc., No. 17-CV-06614 (ALC), 2018 WL 3559091, at *6 (S.D.N.Y. July 24,

2018).” After citing these propositions, the defense then ignores the currently pled facts about

the “bullshit data,” the “lie (sic) update” sent to John Cortina and the promotion of the Lubanda



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study over the Vedder study where Genzyme counselled the Australian medical authorities not to

use a blanket dose adjustment because it would be insane. SAC ¶ 465. The evidence is even

presented as Bates numbered documents so that Genzyme can refer to its own files. There is not

a lack of specificity in the Wilkins case.

      5)       Mr. Cortina also has valid claims sounding in both negligence and fraud for the

concealment of the dangers of low doses like the other Plaintiffs who did not know that taking low

doses would be “insane.” The reliance causing his injuries is recognized in the Restatement

(Second) of Torts under Negligence Theories § 310 (Conscious Misrepresentation Involving Risk

of Physical Harm), § 311 (Negligent Misrepresentation Involving Risk of Physical Harm), § 324A

(Negligent Undertaking), § 402B (Misrepresentation of Material Fact) and Fraud Theories § 525

(Liability For Fraudulent Misrepresentation), § 324A(b) (Negligent Undertaking); § 550 (Liability

for Fraudulent Concealment), § 551 (Liability for Fraudulent Non-disclosure), § 552 (Information

Negligently Supplied for the Guidance of Others), § 536 (Misrepresentations under a Statutory

Duty to Inform), and § 557A (Fraudulent Misrepresentations Causing Physical Harm).

      6)       Fraud and Breach of Fiduciary Duty are also properly pled for the same reasons that

the claims of Trina Wilkins and the remaining Plaintiffs receiving low doses are properly pled.

The communications from Genzyme led Mr. Cortina to believe “low dose” would have some

efficacy in treating his disease despite Genzyme knowing otherwise.

      7)       Breach of Fiduciary Duty is not seriously challenged. Dr. Gruskin and the case

managers used their positions as a health care professional to induce reliance and trust in Genzyme.

      8)       Unjust enrichment is properly pled. To state a claim for unjust enrichment under

New York law, a plaintiff must allege that: “(1) the defendant was enriched, (2) at the expense of

the plaintiff, and (3) that it would be inequitable to permit the defendant to retain that which is



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claimed by the plaintiff.” Clifford R. Gray, Inc. v. LeChase Construction Services, LLC, 31 A.D.3d

983, 988, 819 N.Y.S.2d 182, 187 (3d Dep't 2006); see also Briarpatch Ltd. v. Phoenix Pictures,

Inc., 373 F.3d 296, 306 (2d Cir.2004). Agerbrink v. Model Serv. LLC, 155 F. Supp. 3d 448, 458

(S.D.N.Y. 2016). It is unconscionable that a company would force Americans to take and pay for

a “low dose,” while knowing such a dosing was insane for treating their disease. Retention of the

money obtained by forcing patients to buy a useless drug to treat a fatal disease is fundamentally

offensive.


             vi.      George Demko (Pennsylvania state resident and party to the original
                      Hochendoner Action)

      1)           George Demko’s claims are only mentioned three times in Genzyme’s motion.

Genzyme objects to Mr. Demko pleading negligence per se under the FDCA. Pennsylvania law

recognizes negligence per se alleging a violation of state and federal Pure Food and Drug acts, so

the claims are valid. “[T]he doctrine of per se liability does not create an independent basis of tort

liability but rather establishes, by reference to a statutory scheme, the standard of care appropriate

to the underlying tort,” which is especially true if the drug or device is used off label. In re

Orthopedic Bone Screw Products Liability Litigation, 193 F.3d 781, 790 (3d Cir.1999). Cabiroy

v. Scipione, 2001 PA Super 29, ¶ 14, (2001).

      Second, regarding strict liability, Genzyme misapplies the rule of Parkinson v. Guidant

Corp., 315 F. Supp. 2d 741, 747–48 (W.D. Pa. 2004) (citing Hahn v. Richter, 673 A.2d 888,

890–91 (Pa. 1996)). Strict liability claims are barred by comment K to § 402A only to the extent

a prescription drug is “properly prepared and accompanied by proper directions and warning.”

Restatement (Second) of Torts § 402A (1965). Mr. Demko proper alleges that the Fabrazyme

was not properly prepared (i.e., defective) because it contained vesivirus and particulates. He



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also alleges that the warnings were not proper given that it was to be used at a “low dose.” SAC ¶

8. The FDA never approved “low dose.” Genzyme also ignores Pennsylvania’s approval of

Restatement (Second) of Torts § 402B (1965). “One engaged in the business of selling chattels

who, by advertising, labels, or otherwise, makes to the public a misrepresentation of a material

fact concerning the character or quality of a chattel sold by him is subject to liability for physical

harm to a consumer of the chattel caused by justifiable reliance upon the misrepresentation, even

though (a) it is not made fraudulently or negligently, and (b) the consumer has not bought the

chattel from or entered into any contractual relation with the seller” which is also properly pled.

“[W]e find that the pronouncements of our Supreme Court in Kassab and Salvador, together with

the rationale of Randy Knitwear, conclusively mandate the adoption of s 402B of the

Restatement (Second) of Torts of the law of this Commonwealth.” Klages v. Gen. Ordnance

Equip. Corp., 240 Pa. Super. 356, 368, (1976). Genzyme was engaged in off-label marketing to

Mr. Demko personally through the Genzyme care representative and through his physician. He

reasonably believed it would be of some use in treating his disease and would not be ineffective.

By withholding the information that the “low dose” drug was completely useless, that the data

supporting using low dose was “bullshit” and that Australian Fabry patients would be insane to

take it, the warnings were not “proper” under comment K and also constitute a separate tort under

§ 402B. George Demko was in privity with Genzyme both through communications and as the

intended third-party beneficiary of the sale of Fabrazyme to his pharmacy as are all persons who

buy Fabrazyme.

      As a note, while contract theories are routinely applied to consumer cases, both the federal

and state Pure Food and Drug Acts criminalize off label marketing. It would be antithetical to

the purpose Pure Food and Drug statutes to “contract out” a criminally-prohibited exception that



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injures a plaintiff in exactly the way that the Acts anticipate—the sale of untested, ineffective,

and dangerous drugs to consumers. 20

       Moreover, “claims for monetary damages generally satisfy the injury-in-fact threshold.”

Am. Fed'n of State Cty. &. Emps. v. Ortho-McNeil-Janssen Pharms., Inc., No. 08-CV-5904, 2010

WL 891150, at *3 (E.D. Pa. Mar. 11, 2010).

       2)          Mr. Demko’s claims are not opposed due to a statute of limitations, and he was

covered under the tolling agreement.

       3)          The choice of law for the statute of limitations is Pennsylvania under Indiana’s

borrowing statute and substantive Pennsylvania law.

       4)          Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory or combination theory are rebutted supra and are equally applicable to Mr. Demko’s

claims. SAC ¶ 8. Impossibility pre-emptions similarly does not apply. Claims for restitution are

properly pled, and fraud is pled with particularity.

       5)          The same rebuttal arguments that Trina Wilkins and the other plaintiffs have made

herein apply equally to Mr. Demko’s claims.

            vii.      Mary Helton (Indiana state resident and party to the original Adamo Action)

       1)          Mary Helton’s claims are only mentioned once in Genzyme’s motion as well.

Genzyme notes that Ms. Helton was a party to the original Adamo Action.



20 “In addition to causing inappropriate spending of Medicaid funds, off-label uses that are not medically

accepted may expose patients to harm. Scholarly literature, as well as government warnings and
testimony, have pointed out that possible patient harm may arise from off-label uses that are not
medically accepted. Despite these dangers, and despite U.S. Food and Drug Administration (FDA)
restrictions on off-label marketing, some pharmaceutical manufacturers have engaged in extensive efforts
to market drugs for off-label uses, including uses that are not medically accepted.” And “individuals
that recognize off-label drug promotion should report it to: The FDA at BadAd@fda.gov or 855-RX-
BadAd (855-792-2323)”; See, https://www.cms.gov/Medicare-Medicaid-Coordination/Fraud-
Prevention/Medicaid-Integrity-Education/Downloads/off-label-marketing-factsheet.pdf


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       2)       Ms. Helton took “low dose” Fabrazyme and was exposed to and injured by

particulates and vesivirus as plead in SAC ¶ 9. Her claims are not opposed due to a statute of

limitations, and she was covered under the tolling agreement.

       3)       The choice of law for the statute of limitations is Indiana and substantive Indiana

law.

       4)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Ms. Helton’s claims.

SAC ¶ 9. Impossibility pre-emptions similarly does not apply. Claims for restitution are properly

pled, and fraud is pled with particularity.

       5)       The same choice of law and rebuttal arguments that Trina Wilkins and the other

Plaintiffs have made herein apply equally to Ms. Helton’s claims.

            viii.   Donovan Helton (Indiana state resident and party to the original Adamo Action
                    as minor D.H.)

       1)       Donovan Helton’s claims are only mentioned once in Genzyme’s motion.

Genzyme notes that Mr. Helton was a party to the original Adamo Action.

       2)       Mr. Helton was a minor when he took “low dose” and was exposed and injured by

particulates and vesivirus as plead in SAC ¶ 11.

       3)       The choice of law for the statute of limitations is Indiana and substantive Indiana

law.

       4)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Mr. Helton’s claims.

SAC ¶ 1. Impossibility pre-emptions similarly does not apply. Claims for restitution are properly

pled, and fraud is pled with particularity.

       5)       The same choice of law and rebuttal arguments that Trina Wilkins and the other

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Plaintiffs have made herein apply equally to Mr. Helton’s claims.


             ix.      Sydney Johnson (Virginia state resident and party to the original Adamo Action)

      1)           Sydney Johnson’s claims are only mentioned twice in Genzyme’s motion.

Genzyme notes that Ms. Johnson was a party to the original Adamo Action and argues that strict

liability is not recognized under Virginia law, which is correct. However, “manufacturers and

sellers of defective products can be held liable on theories of negligence and breach of the

implied warranty of merchantability.” Featherall v. Firestone Tire & Rubber Co., 219 Va. 949,

961–64; Logan v. Montgomery Ward & Co., 216 Va. 425, 428, (1975); see also Va. Code §§ 8.2–

314, 8.2–318 (1965). A personal injury or wrongful death claimant may recover for breach of

warranty under Virginia law by establishing “(1) that the goods were unreasonably dangerous

either for the use to which they would ordinarily be put or for some other reasonably foreseeable

purpose, and (2) that the unreasonably dangerous condition existed when the goods left the

defendant's hands.” Logan v. Montgomery Ward & Co., 216 Va. at 428, 219 S.E.2d at 687. A

product can be “unreasonably dangerous” if defective in assembly or manufacture, see, e.g.,

Matthews v. Ford Motor Co., 479 F.2d 399, 400 (4th Cir.1973), if imprudently designed, see,

e.g., Dreisonstok v. Volkswagenwerk, A.G., 489 F.2d 1066, 1071 (4th Cir.1974), or if not

accompanied by adequate warnings about its hazardous properties, see, e.g., Spruill v. Boyle-

Midway, Inc., 308 F.2d 79, 85–86 (4th Cir.1962). Bly v. Otis Elevator Co., 713 F.2d 1040,

1042–43 (4th Cir. 1983), on reh'g sub nom. Farish v. Courion Indus., Inc., 754 F.2d 1111 (4th

Cir. 1985)

      2)           Ms. Johnson was a minor when she took “low dose” and was exposed and injured

by particulates and vesivirus as plead in SAC ¶ 12.




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       3)       The choice of law for the statute of limitations is Virginia under Indiana’s

borrowing statute and substantive Virginia law.

       4)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Ms. Johnson’s

claims. SAC ¶ 13. Impossibility pre-emptions similarly does not apply. Claims for restitution

are properly pled, and fraud is pled with particularity.

       6)       Ms. Johnson is both young and a female. As such, she is one of the special classes

that Genzyme already promised to monitor. Fabrazyme FDA label: “17. PATIENT

COUNSELING INFORMATION Patients should be informed that a Registry has been

established in order to better understand the variability and progression of Fabry disease in the

population as a whole and in women [see Use in Specific Populations (8.6)], and to monitor and

evaluate long-term treatment effects of Fabrazyme.” SAC FN 4. Additionally, she is the most at

risk of developing reproductive tract complications from vesivirus 2117 being selected for in

growth in mammalian ovarian cells. Since vesivirus is a Category B biodefense pathogen,

infection is both a credible and substantial risk to her health in particular.

        7)      Ms. Johnson properly pleads a violation of the Virginia Consumer Protection Act.

Genzyme’s only rebuttal is that injury is not plead with sufficient specificity, but does not

mention the testimony and emails of Dr. Daniel Gruskin or the communications with the

Australian medical authorities that a blanket dose adjustment would be insane. Omission of its

knowledge that the “low dose” data was “bullshit,” constitutes a deceptive trade practice.

       8)       The same rebuttal arguments also apply that Trina Wilkins and the other plaintiffs

have made herein.




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              x.      Plaintiff D.J. (Virginia state resident and party to the original Adamo Action)

         1)        Plaintiff D.J.’s claims are only mentioned twice in Genzyme’s motion. Genzyme

notes that D.J. was a party to the original Adamo Action and argues that strict liability is not

recognized under Virginia law, which is correct. However, as discussed supra. “manufacturers

and sellers of defective products can be held liable on theories of negligence and breach of the

implied warranty of merchantability.” Farish v. Courion Indus., Inc., 754 F.2d 1111 (4th Cir.

1985).

         2)        Plaintiff D. J. is currently a minor SAC ¶ 13. As such, the statute of limitations is

tolled until he reaches majority. Genzyme fails to note this in its aggregate arguments. Va. Code

Ann. § 8.01-229 (West).

         3)        The choice of law for the statute of limitations is Virginia under Indiana’s

borrowing statute and substantive Virginia law.

         4)        Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory or combination theory are rebutted supra and are equally applicable to D.J.’s claims. SAC

¶ 13. Impossibility pre-emptions similarly does not apply. Claims for restitution are properly

pled, and fraud is pled with particularity.

         7)        Plaintiff D.J. properly pleads a violation of the Virginia Consumer Protection Act.

The defense’s only rebuttal is that injury is not plead with sufficient specificity but does not

mention the testimony and emails of Dr. Daniel Gruskin or the communications with the

Australian medical authorities that a blanket dose adjustment would be insane. Omission of the

information that the “low dose” data was “bullshit,” constitutes a deceptive trade practice.

         8)        The same rebuttal arguments that Trina Wilkins and the other plaintiffs have made

herein apply equally to D.J.’s claims.



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           xi.      Plaintiff Damon LaForce (Virginia state resident at time and party to the original
                    Adamo Action).

      1)         Damon LaForce’s claims are mentioned more often in Genzyme’s motion than

other Virginia residents. As with Sydney Johnson, he was a party to the original Adamo Action

and Genzyme argues that strict liability is not recognized under Virginia law, which is correct.

However, as discussed supra “manufacturers and sellers of defective products can be held liable

on theories of negligence and breach of the implied warranty of merchantability.” Farish v.

Courion Indus., Inc., 754 F.2d 1111 (4th Cir. 1985).

      2)         Footnote 12 of Genzyme’s memorandum addresses its assertion that Mr.

LaForce’s claims are barred by the statute of limitations. As a person who reacted with

anaphylaxis on resumption of full doses, he has pled an injury according to the First Circuit in

Hochendoner like prior Plaintiff James Mooney. SAC ¶ 14. However, Genzyme asserts that the

deadline for a class action claim passed for his claim, Trina Wilkins’ claim, and Thomas

Stanziano’s claims for “full dose” anaphylaxis. Genzyme does not inform the court that this

argument is foreclosed as being both tolled and estopped by the savings statute and the tolling

agreement that Genzyme signed. Indeed, the current class representatives from the Hochendoner

action are the proper parties to continue to assert class status because they were the first to plead

it under the CAFA. Since the original class has not been ruled upon, assertion of a second group

for class status within the same pleading would not make sense.

      3)         The choice of law for the statute of limitations is Virginia under Indiana’s

borrowing statute and substantive Virginia law.

      4)         Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Mr. LaForce’s

claims. SAC ¶ 14. Impossibility pre-emptions similarly does not apply. Claims for restitution are

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properly pled, and fraud is pled with particularity.

      5)          Mr. LaForce properly pleads a violation of the Virginia Consumer Protection Act.

The defense’s only rebuttal is that injury is not plead with sufficient specificity but does not

mention the testimony and emails of Dr. Daniel Gruskin or the communications with the Australian

medical authorities that a blanket dose adjustment would be insane. Omission of the information

that the “low dose” data was “bullshit,” constitutes a deceptive trade practice.

      6)          The same rebuttal arguments that Trina Wilkins and the other plaintiffs have made

herein apply equally to Mr. LaForce’s claims.

           xii.      Plaintiff Michael Masula (Pennsylvania state resident and party to the original
                     Hochendoner Action)

      1)          Michael Masula’s claims are only mentioned in conjunction with George Demko’s

claims. As discussed supra, Pennsylvania law recognizes negligence per se alleging a violation of

state and federal Pure Food and Drug acts, so the claims are valid. In re Orthopedic Bone Screw

Products Liability Litigation, 193 F.3d 781, 790 (3d Cir.1999). Cabiroy v. Scipione, 2001 PA

Super 29, ¶ 14, (2001).

      Second, regarding strict liability, Genzyme misapplies the rule of Parkinson v. Guidant

Corp., 315 F. Supp. 2d 741, 747–48 (W.D. Pa. 2004) (citing Hahn v. Richter, 673 A.2d 888,

890–91 (Pa. 1996)). Strict liability claims are barred by comment K to § 402A only to the extent

a prescription drug is “properly prepared and accompanied by proper directions and warning.”

Restatement (Second) of Torts § 402A (1965). Like George Demko, Mr. Masula properly

alleges that Fabrazyme was not properly prepared (i.e., defective) because it contained vesivirus

and particulates. Mr. Masula also alleges that the warnings were not proper given that it was to

be used at a “low dose.” SAC ¶ 15. The FDA never approved “low dose.” Genzyme also

ignores Pennsylvania’s approval of Restatement (Second) of Torts § 402B (1965). Genzyme was

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engaged in off-label marketing to Mr. Masula personally through the Genzyme care

representative and to his physician. Mr. Masula reasonably believed it would be of some use in

treating his disease and would not be ineffective. By withholding the information that the “low

dose” drug was completely useless, that the data supporting using low dose was “bullshit” and

that Australian Fabry patients would be insane to take it, the warnings were not “proper” under

comment K and also constitute a separate tort under § 402B. Mr. Masula was in privity with

Genzyme both through communications and as the intended third-party beneficiary of the sale of

Fabrazyme to his pharmacy as are all persons who buy Fabrazyme.

      Moreover, “claims for monetary damages generally satisfy the injury-in-fact threshold.”

Am. Fed'n of State Cty. &. Emps. v. Ortho-McNeil-Janssen Pharms., Inc., No. 08-CV-5904, 2010

WL 891150, at *3 (E.D. Pa. Mar. 11, 2010).

      2)       Mr. Masula’s claims are not opposed due to a statute of limitations, and he was

covered under the tolling agreement.

      3)       The choice of law for the statute of limitations is Pennsylvania under Indiana’s

borrowing statute and substantive Pennsylvania law.

      4)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Mr. Masula’s claims.

SAC ¶ 15. Impossibility pre-emptions similarly does not apply. Claims for restitution are properly

pled, and fraud is pled with particularity.

      5)       The same rebuttal arguments that Trina Wilkins and the other plaintiffs have made

herein apply equally to Mr. Masula’s claims.

           xiii.   Plaintiff James Matthews (North Carolina state resident and party to the original
                   Adamo Action

      1)       James Matthews claims are only mentioned twice in Genzyme’s motion. First,

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Genzyme argues that Mr. Matthews’ claims cannot be predicated on a violation of the FDCA.

However, Genzyme fails to point out that claims can be predicated on a violation of the various

states Pure Food and Drug acts that concurrently regulate prescription drugs under Wyeth v. Levine.

Moreover, the correct warning was not provided since the product was contaminated and was

ineffective at “low dose”. As such, his claims are valid. SAC ¶ 17.

      2)       Genzyme then argues that strict liability is not recognize in North Carolina. While

correct, North Carolina does allow claims based on inadequate warning or instruction, which

includes a post-sale duty to warn. N.C. Gen. Stat. Ann. § 99B-5 and § 99B-5 (a) (2).

      3)        Mr. Matthews claims are not opposed due to a statute of limitations except by

suggestion in FN 12 of Genzyme’s memorandum. As discussed supra, he was covered under the

savings statute and the tolling agreement as were all the Plaintiffs.

      4)       The choice of law for the statute of limitations is North Carolina under Indiana’s

borrowing statute and substantive North Carolina law.

      5)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory, or combination theory are rebutted supra and are equally applicable to Mr. Matthews’

claims. SAC ¶ 17. Impossibility pre-emptions similarly does not apply. Claims for restitution are

properly pled, and fraud is pled with particularity.

      6)       The same rebuttal arguments that Trina Wilkins and the other plaintiffs have made

herein apply equally to Mr. Matthews’ claims.

      7)       Regarding the North Carolina Unfair and Deceptive Trade Practices Act, Genzyme

only argues that the Fabrazyme label was approved by the FDA. As detailed throughout the Second

Amended Complaint, Genzyme knew that the drug was not being used according to the FDA label

since it was being marketed and sold at “low doses.” The FDA did not approve such as use, so the



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claim is not pre-empted. To the extent that Genzyme asserts that the misrepresentations were not

egregious enough, Plaintiff points out that marketing a life-saving drug at a dose that is ineffective

to dying patients shocks the conscience. Genzyme’s own case managers recognized that promoting

a “low dose” gave patients false hope while draining their bank account. See SAC ¶ 272. “I think

there is a fine line between containing the message and keeping people in the dark. This was not

the time for mushroom management. (Keep them in the dark and watch them grow!) Without the

complete picture, I felt like my communication with patients was inauthentic, stilted, and

potentially damaging with some patients.”

            xiv.    Plaintiff Thomas Olszewski (Michigan state resident and party to the original
                    Adamo Action

      1)       Thomas Olszewski is only mentioned once in Genzyme’s memorandum, and as a

party to the original Adamo action. His state of residence is referenced in FN 12 of Genzyme’s

memorandum.        As discussed supra, he was covered under the savings statute and tolling

agreement, as were all the Plaintiffs.

      2)       The only substantiative argument that Genzyme proffers is that the original

Hochendoner action was dismissed for failure to assert that “low dose” Fabrazyme is completely

and utterly useless in treating Fabry disease. That is remedied in the current complaint. SAC ¶ 18.

More importantly, the complete lack of utility of “low dose” was exactly what Genzyme did not

want patients, doctors, or payors (and this court) to know. The pleadings now assert that taking

“low dose” Fabrazyme would be insane, as discussed supra. This evidence cannot reasonably be

challenged at the pleading stage because it is from Genzyme’s own files as revealed in the unsealed

Schubert complaint.

       3)      Genzyme argues that the sale of “low dose,” vesivirus contaminated, and particulate

contaminated Fabrazyme is a pre-empted exemption under the Michigan Consumer Protection Act.

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However, the statute does not impose a regulated/unregulated dichotomy for exemption. Instead,

the statute reads: Sec. 4. (1) This act does not apply to… the following: (a) A transaction or

conduct specifically authorized under laws administered by a regulatory board or officer acting

under statutory authority of this state or the United States. No one authorized Genzyme to sell

“low dose,” vesivirus contaminated, or particulate contaminated Fabrazyme. In fact, such sales

are criminalized as discussed supra. Since Genzyme did not seek authorization to sell Fabrazyme

in such conditions, the exemption does not apply.

           xv.      Plaintiff Thomas Stanziano (Florida state resident and party to the original
                    Hochendoner Action)

      1)         Genzyme presents four arguments concerning the claims of Thomas Stanziano.

First, it argues that the statute of limitations has passed for Mr. Stanziano and the other Plaintiffs

belonging to the group that suffered anaphylactic responses on resumption of full dose like Mr.

Mooney in the original Adamo complaint. SAC ¶ 20. Mr. Stanziano was a party to the tolling

agreement, so that is not possible. The CAFA does not play a role as explained for Plaintiff Damon

LaForce and Trina Wilkins.

      Second, the defense argues that Florida does not recognize negligence per se based in the

FDCA. However, Mr. Stanziano’s claim is based on the violations of the Florida Pure Food and

Drug Acts, not the FDCA.

      Finally, Genzyme argues that Mr. Stanziano was not in privity with Genzyme for his

breach of express warranty claim. This is not true. Florida has adopted § 552 of the Restatement

(Second) of Torts “finding that the party who negligently transmitted the false information may

be held liable when the recipient is able to establish a negligent misrepresentation cause of action

as set forth in the Restatement (Second) of Torts section 552 (1977).” Gilchrist Timber Co. v.

ITT Rayonier, Inc., 696 So. 2d 334, 335 (Fla. 1997). See also First Fla. Bank, N.A. v. Max

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Mitchell & Co., 558 So. 2d 9, 15 (Fla. 1990). Independent of this adoption, Florida recognized

privity where there is a third party beneficiary. The pharmacy only buys a drug subject to a

prescription for the named Plaintiff’s treatment. The intended beneficiary of a drug prescription

is not the pharmacy, but the patient. “[I]t is not necessary that the third-party beneficiary is

named in the contract. See Fla. Power & Light Co. v. Mid–Valley, Inc., 763 F.2d 1316, 1321

(11th Cir.1985). “The parties' pre- or post-contract actions may establish their intent.” Id. Dingle

v. Dellinger, 134 So. 3d 484, 488 (Fla. Dist. Ct. App. 2014). 21 See also “Third-party beneficiaries

of warranties express or implied.” Fla. Stat. Ann. § 672.318 (West)

       2)        In footnote 12 of its memorandum Genzyme argues that Mr. Stanziano’s claims

are barred by the applicable statute of limitations. As a person who reacted with anaphylaxis on

resumption of full doses, he has pled an injury according to the First Circuit in Hochendoner like

prior Plaintiff James Mooney. SAC ¶ 14. However, Genzyme asserts that the deadline for a

class action claim has passed for his claim, Trina Wilkins’ claim, and Mr. Stanziano’s claims for

“full dose” anaphylaxis. Genzyme does not inform this court that this argument is foreclosed as

being both tolled and estopped by the savings statute and the tolling agreement that the defense

signed. Indeed, the current class representatives from the Hochendoner action are the proper

parties to continue to assert class status because they were the first to plead it under the CAFA.

Since the original class has not been ruled upon, assertion of a second group for class status

within the same pleading would not make sense.

       3)        The choice of law for the statute of limitations is Florida under Indiana’s

borrowing statute and substantive Florida law.


21 “[T]he third party intended beneficiary exception to the rule of privity is not limited to will drafting

cases.” Hodge v. Cichon, 78 So.3d 719, 722 (Fla. 5th DCA), review denied, 99 So.3d 942 (Fla.2012);
Winston v. Brogan, 844 F.Supp. 753, 756 (S.D.Fla.1994) (citing Greenberg v. Mahoney Adams & Criser,
P.A., 614 So.2d 604, 605 (Fla. 1st DCA 1993)). Id.

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      4)       Genzyme’s general objections to acceleration theory, particulate theory, vesivirus

theory or combination theory are rebutted supra and are equally applicable to Mr. Stanziano’s

claims. SAC ¶ 19. Impossibility pre-emption similarly does not apply. Claims for restitution are

properly pled, and fraud is pled with particularity.

      6)       The same rebuttal arguments apply that Trina Wilkins and the other plaintiffs have

made herein.


           xvi.    Plaintiff Theresa Viers (deceased) as represented by her Executor Eddie Viers
                   (Virginia state resident and party to the original Adamo Action)

      1)       Genzyme relies entirely on its argument for other plaintiffs to apply to the Decedent

and her Estate with one exception. It argues that the correct cause of action is Wrongful Death and

not a Survival Action. However, the Virginia Supreme Court has ruled that both can be pled in the

alternative, but election is required based on the determination of the jury based on the proximate

cause of death. Since Genzyme is disputing causation, both causes of action are properly pled

under Virginia law.    “[W]e hold that the circuit court did not err in overruling Centra Health's

motion to strike the evidence as to the administrators' personal injury survival claim. Centra

Health, Inc. v. Mullins, 277 Va. 59, 80 (2009).

      2)       As with the prior Plaintiffs, the rebuttal arguments also apply with special reference

to Virginia Plaintiffs, Sydney Johnson and Plaintiff D.J. SAC ¶ 22.


           xvii.   Plaintiff Joseph Wallace (deceased) as represented by her Executor Jeanne
                   Wallace (Virginia state resident and party to the original Adamo Action)

      1)       As with Plaintiff Viers, Genzyme relies entirely on its argument for other plaintiffs

to apply to the Decedent and his Estate with one exception. It argues that the correct cause of

action is Wrongful Death and not a Survival Action. However, since Genzyme is disputing



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causation, both causes of action are properly pled under Virginia law.        Centra Health, Inc. v.

Mullins, 277 Va. 59, 80 (2009).

      2)        As with the prior Plaintiffs, the rebuttal arguments also apply with special reference

to Virginia Plaintiffs, Sydney Johnson and Plaintiff D.J. SAC ¶ 22.


V.     CONCLUSION

           WHEREFORE, Plaintiffs respectfully request that this Honorable Court deny Genyzme

 Corporation’s Motion to Dismiss and order a responsive pleading be filed within fourteen (14)

 days of this Honorable Court’s ruling.

                                                For the Plaintiffs,


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Date: September 1, 2021




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                                    CERTIFICATE OF SERVICE


          I, Jonathan M. Gesk, hereby certify that on September 1, 2021, I filed the foregoing Plaintiffs’

Memorandum of Law in Opposition to Genzyme Corporation’s Motion to Dismiss Second Amended

Complaint electronically with the U.S. District Court for the District of Massachusetts using the

CM/ECF system and caused it to be served on all registered participants via the Notice of Electronic

Filing.




Dated: September 1, 2021                        /s/ Jonathan M. Gesk
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